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                                                         6 Proposed Special Litigation Attorneys for
                                                           Richard A. Marshack,
                                                         7 Chapter 7 Trustee for Eagan Avenatti, LLP

                                                         8

                                                         9                         UNITED STATES BANKRUPTCY COURT

                                                        10                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

                                                        11   In re                                     Case No.: 8:19-bk-13560-CB
L ANDAU GOTTFRIED & B E RG ER LLP




                                                        12   EAGAN AVENATTI, LLP,                      Chapter 7
                             LOS ANGELES, CALIFO RNIA
                                ATTO RNEYS AT LA W




                                                        13                       Debtor.
                                                                                                       Adv. No.:
                                                        14
                                                                                                       COMPLAINT FOR AVOIDANCE AND
                                                        15                                             RECOVERY OF VOIDABLE
                                                             RICHARD A. MARSHACK, CHAPTER              TRANSFERS; PREFERENCE;
                                                        16   7 TRUSTEE FOR EAGAN AVENATTI,             DECLARATORY RELIEF; TURNOVER;
                                                             LLP,                                      PRELIMINARY AND PERMANENT
                                                        17                                             INJUNCTION; BREACH OF FIDUCIARY
                                                                                        Plaintiff,     DUTY; DISALLOWANCE OF PROOFS
                                                        18                                             OF CLAIM; EQUITABLE
                                                                     v.                                SUBORDINATION
                                                        19

                                                        20   MICHAEL AVENATTI, an individual;
                                                             LISA STORIE-AVENATTI, an
                                                        21   individual; AVENATT & ASSOCIATES
                                                             APC, a professional corporation; and
                                                        22   DOES 1-10, Inclusive,
                                                        23
                                                                                        Defendants.
                                                        24

                                                        25

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                                                         1          Plaintiff is Richard A. Marshack, chapter 7 trustee (the “Trustee”) for the bankruptcy estate

                                                         2 (the “Estate”) of Eagan Avenatti, LLP (“EA”). The Trustee brings this adversary proceeding on

                                                         3 behalf of the Estate pursuant to 11 U.S.C. §§1106(a) and 1109(b). As the Trustee was not

                                                         4 appointed until after EA filed bankruptcy, the Trustee does not have personal knowledge of the

                                                         5 facts alleged below and therefore alleges those facts on information and belief.

                                                         6                                    JURISDICTION AND VENUE

                                                         7          1. In accordance with the requirements of Local Bankruptcy Rule 7008-1, the Santa Ana

                                                         8 Division of the United States Bankruptcy Court for the Central District of California (the

                                                         9 “Bankruptcy Court”) has jurisdiction over this adversary proceeding under 28 U.S.C. § 1334,

                                                        10 because the claims asserted herein arise under title 11 of the United States Code or arise in or

                                                        11 relate to the Chapter 7 case of the debtor, EA, currently pending in the Bankruptcy Court as Case
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                                                        12 No. 8:19-bk-13560-CB (the “EA Bankruptcy Case”). The outcome of this adversary proceeding
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                                ATTO RNEYS AT LA W




                                                        13 will have a significant effect on the Estate because it will impact the disposition of property of the

                                                        14 Estate and the amount of money available for distribution to creditors of the Estate. The claims

                                                        15 for relief in this Complaint constitute a core proceeding under 28 U.S.C. § 157(b). Regardless of

                                                        16 whether this is a core proceeding, consent is hereby given to the entry of final orders and judgment

                                                        17 by the Bankruptcy Court. Each defendant is hereby notified that Fed. R. Bankr. P. 7008(a)

                                                        18 requires each defendant to plead whether the claims for relief alleged against such defendant are

                                                        19 core or non-core and, if non-core, whether consent is given to the entry of final orders and

                                                        20 judgment by the Bankruptcy Court.

                                                        21          2. Venue is proper in the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409

                                                        22 because the EA Bankruptcy Case is pending in this district and division. This Court also has

                                                        23 personal jurisdiction over each of the defendants.

                                                        24                                               PARTIES

                                                        25          3. Plaintiff Richard A. Marshack is the chapter 7 trustee of the EA Estate.

                                                        26          4. Defendant Lisa Storie-Avenatti (“Storie”) is an individual residing in Orange County,

                                                        27 California.

                                                        28          5. Defendant Michael Avenatti (“Avenatti”) is an individual residing in Los Angeles

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                                                      1 County, California.

                                                      2          6. Defendant Avenatti & Associates, APC (“AA”), is a legal entity incorporated under the

                                                      3 laws of California. Storie and Avenatti each claim to own AA and, directly and/or indirectly, to

                                                      4 own EA.

                                                      5          7. The Trustee is not aware of the true names and capacities (whether individual,

                                                      6 associate, corporate, or otherwise) of defendants Does 1 through 10, or any of them, and therefore

                                                      7 sues said defendants, and each of them, by such fictitious names and will amend this Complaint to

                                                      8 include their true names and capacities, when ascertained, together with appropriate charging

                                                      9 allegations.

                                                     10          8. Each of the Doe defendants is an initial transferee of the avoidable transfers alleged in

                                                     11 this Complaint, or of the proceeds of such avoidable transfers, and did not take such transferred
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                                                     12 property for value, in good faith, and without knowledge of the voidability of such transfers or
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                             ATTO RNEYS AT LA W




                                                     13 otherwise asserts an ownership or other interest in the “EA Art” as described below.
           LLP




                                                     14                                     GENERAL ALLEGATIONS

                                                     15 Stories’ Marriage to Michael Avenatti

                                                     16          9.       At all relevant times through 2017, Storie was married to Avenatti. In 2017,

                                                     17 Avenatti commenced a marital dissolution proceeding against Storie entitled Michael Avenatti v.

                                                     18 Lisa Storie-Avenatti, Case No. 17D009930, in the Superior Court of California (Family Law

                                                     19 Court), County of Orange, to dissolve his marriage to Storie. That action is still pending in the

                                                     20 Family Law Court.

                                                     21 Michael Avenatti’s Ownership and Operation of Eagan Avenatti, LLP

                                                     22          10.      EA was a California based litigation law firm formed in the mid-2000s. At any

                                                     23 given time, EA employed between seven to nine attorneys, and primarily handled plaintiff

                                                     24 contingency matters, whereby the firm only received legal fees after a case was resolved in favor

                                                     25 of EA’s client.

                                                     26          11.      By not later than some time in 2012, Avenatti assumed control over the

                                                     27 management of EA. By 2013 and at all relevant times thereafter, Avenatti was its managing

                                                     28 partner of EA and owned at least 75% the firm directly or indirectly through his personal

                                                                                                           3
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                                                      1 corporation, AA. As EA’s managing partner, Avenatti at all relevant times was an individual who

                                                      2 controlled EA’s business and full access to its business and financial records (including its

                                                      3 banking records).

                                                      4              12.      Avenatti is an attorney of national notoriety, including previously having acted

                                                      5 through EA as class-counsel in cases such as Bahamas Surgery Center, LLC v. Kimberly-Clark

                                                      6 Corporation, et al. (involving defective surgical gowns) and Greco v. NFL (a series of

                                                      7 consolidated lawsuits relating to Super Bowl XLV in Dallas, Texas), and representing high profile

                                                      8 clients such as Stephanie Clifford (also known as “Stormy Daniels”) and the alleged victims of

                                                      9 R&B artist R. Kelly. Avenatti also considered running for President of the United States of

                                                     10 America in or around fall, 2018 (for the 2020 general election).

                                                     11              13.      This national notoriety and success led for a period of time to financial success for
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                                                     12 EA and Avenatti, who enjoyed such pastimes as (i) auto racing through HTP Mortorsport GmBh
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                                                     13 and GB Auto, LLC, which owned, maintained and operated Porsche race cars for Avenatti’s
           LLP




                                                     14 personal use in Europe and the United States; (ii) luxury apartments (approximately $14,000 rent

                                                     15 for an apartment at Ten Thousand Santa Monica in Los Angeles (Century City), California); (iii) a

                                                     16 Ferrari (approximately $4,000 a month), (iv) his own coffee company, Global Baristas, owner of

                                                     17 the “Tully” coffee brand; and (v) various luxury personal items (including jewelry and dozens of

                                                     18 custom suits with a value of approximately $5,000 each, and an indirect ownership interest in a

                                                     19 privately owned jet aircraft).

                                                     20              14.      On March 10, 2017, Avenatti consented to EA being placed into Chapter 11

                                                     21 bankruptcy (after it has been placed into an involuntary bankruptcy in the Middle District of

                                                     22 Florida on March 1, 2017 by a single creditor). 1 The bankruptcy case was transferred to the

                                                     23 Honorable Catherine Bauer in the Central District of California on May 16, 2017 (In re Eagan

                                                     24 Avenatti, LLP, Case No. 8:17-bk-11961-CB).

                                                     25              15.      The EA bankruptcy was later dismissed on March 15, 2018 as part of a structured

                                                     26
                                                          1
                                                              Purportedly with Avenatti’s connivance to thwart litigation filed in February 2016 against EA by Jason Frank Law,
                                                     27 PLC (“JFL”), which is owned by attorney Jason Frank, for Eagan Avenatti, LLP’s breach of its contract for Mr.
                                                          Frank’s professional services as an attorney.
                                                     28

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                                                      1 settlement approved by the bankruptcy court. That structured settlement required EA, following

                                                      2 the dismissal of the bankruptcy, to pay certain debts it owed to creditors, including the Internal

                                                      3 Revenue Service (the “IRS”), JFL2 and various other creditors.

                                                      4              16.      EA did not make the payment owed to JFL, and as a result, the bankruptcy court

                                                      5 entered a judgment in favor of JFL and against EA in the amount of approximately $10 million on

                                                      6 May 22, 2018.

                                                      7              17.      JFL’s judgment against EA was registered before the United States District Court

                                                      8 for the Central District of California on August 31, 2018 and was assigned to Chief Judge Virginia

                                                      9 A. Phillips [In re Eagan Avenatti, 8:18-cv-01644-VAP-KES].

                                                     10              18.      As part of the district court proceeding, JFL moved for the appointment of an

                                                     11 independent receiver for the assets of EA. Avenatti stipulated to Brian Weiss being appointed as
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                                                     12 the Receiver for EA on February 13, 2019. The district court thereafter entered a Receivership
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                             ATTO RNEYS AT LA W




                                                     13 and Restraining Order against EA and Avenatti.
           LLP




                                                     14              19.      On March 22, 2019, the United States Attorney for the Central District of

                                                     15 California filed a criminal complaint against Avenatti (the “CDCA Criminal Complaint”). The

                                                     16 CDCA Criminal Complaint charged Avenatti with wire fraud for wrongfully diverting to his

                                                     17 personal use millions of dollars belonging to EA’s clients, willfully causing EA to not pay

                                                     18 approximately $2.4 million in payroll taxes to the IRS, including $1,279,001 in trust fund taxes

                                                     19 that had been withheld from EA employees’ paychecks, causing EA to not file tax returns for the

                                                     20 2013 through 2017 tax years, bankruptcy crimes, bank fraud and other crimes. On April 4, 2010,

                                                     21 a Southern California Grand Jury indicted Avenatti on 36 counts for, inter alia, wire fraud, tax

                                                     22 evasion, tax fraud, bank fraud, aggravated identity theft, bankruptcy crimes, perjury and the theft

                                                     23 of millions of dollars from EA’s former clients (U.S. v. Avenatti, United States District Court for

                                                     24 the Central District of California, SACR19-00061-JVS).

                                                     25              20.      On September 13, 2019 (the “Petition Date”), Brian Weiss, as the receiver for EA,

                                                     26

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                                                          2
                                                              JFL’s claim against EA arose in February 2016, when JFL initiated an arbitration against EA for breach of contract.
                                                     28

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                                                      1 filed for bankruptcy protection, initiating this case.3

                                                      2 Transfers made by Eagan Avenatti, LLP to or for the Personal Benefit of Avenatti

                                                      3            21.      Between January 1, 2014 and February 13, 2019, EA conducted its banking

                                                      4 primarily at California Bank and Trust through several business checking accounts, client trust

                                                      5 accounts, and IOLTA (interest of lawyer trust accounts, which is a method of raising money for

                                                      6 charitable purposes).

                                                      7            22.       Avenatti caused EA to make at least $6 million in transfers from these accounts to

                                                      8 him or for his personal benefit and not for the benefit of EA or its creditors, in order fund his

                                                      9 opulent lifestyle.4 Avenatti also caused EA to make those transfers and to directly pay his

                                                     10 personal expenses to conceal his personally or indirectly owned assets acquired through EA with

                                                     11 its funds and to keep those assets out of the reach of his and EA’s creditors.
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                                                     12            23.      Within the last eight years through and including February 13, 2019, Avenatti
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                                                     13 directed and caused EA to make transfers of its money and other property to the defendants (the
           LLP




                                                     14 “EA Transfers”). The EA Transfers were made to or for the benefit of Avenatti and the other

                                                     15 defendants and were not for the benefit of and did not benefit EA or its creditors.

                                                     16                                            FIRST CLAIM FOR RELIEF

                                                     17       (Against All Defendants, To Avoid Intentionally Voidable Transfers of Money and Other

                                                     18       Property under 11 U.S.C. §§ 544(a), (b) and 550(a), and Cal. Civ. Code §§ 3439.04(a) and

                                                     19                                                           3439.07)

                                                     20            24.      The Trustee incorporates by reference and realleges paragraphs 1-23 of this

                                                     21 Complaint.

                                                     22            25.      During the eight-year period immediately preceding the filing of this Complaint,

                                                     23 Avenatti directed and caused EA to make transfers of its property, including money, to or for the

                                                     24

                                                     25   3
                                                           Avenatti had previously attempted to place EA into bankruptcy on March 7, 2019 (In re The Trial Group, LLP, Case
                                                          No. 8:19-bk-10822-CB). That case was retroactively dismissed/rendered null and void by order of this Court on
                                                     26   March 19, 2019.
                                                     27   4
                                                           Such as (i) loans to Global Barista; (ii) motorsport related payments (repairs, transport, drivers); (iii) home
                                                          construction and improvement; (iv) private jet lease payments; (v) high end jewelry; and (vi) fine art.
                                                     28

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                                                      1 benefit of the defendants (including Avenatti) that exceeded the total amount, if any, that such

                                                      2 defendants paid to EA prior to and during such time period. That excess amount is referred to

                                                      3 herein as the “8-Year Transfers.” Exhibit 1 identifies the currently known transfers made by EA

                                                      4 to or for the benefit of the defendants during this period that are part of the 8-Year Transfers. 56

                                                      5              26.       The 8-Year Transfers were made by EA with the actual intent to hinder, delay, or

                                                      6 defraud its creditors. Specifically, Avenatti caused EA to make these transfers to or for the benefit

                                                      7 of the defendants to fund his and (as his wife) Storie’s opulent lifestyle and not to sustain or

                                                      8 promote the business of EA, even though he knew or consciously or recklessly chose to ignore

                                                      9 facts known to him that strongly suggested that EA (i) had not filed federal tax returns since 2012;

                                                     10 (ii) owed at least $2.4 million in back taxes and possible additional penalties to the IRS; and (iii)

                                                     11 had other pending creditor claims that were not being paid.
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                                                     12              27.       The defendants did not take any of the 8-Year Transfers for a reasonably equivalent
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                                                     13 value and/or did not take such transfers in good faith. Specifically, such defendants (i) knew or
           LLP




                                                     14 consciously or recklessly chose to ignore facts known to them that strongly suggested that the

                                                     15 transfers were of property belonging to EA because the transfers were identified as emanating

                                                     16 from that entity; (ii) knew or consciously or recklessly chose to ignore facts known to them that

                                                     17 strongly suggested that the value, if any, that defendants provided in exchange for those payments

                                                     18 was not for the benefit of and did not benefit EA or its creditors; and (iii) knew or consciously or

                                                     19 recklessly chose to ignore facts known to them that strongly suggested the value, if any, provided

                                                     20 by them in exchange for such transfers conferred no or less than substantially equivalent value

                                                     21 upon EA and its creditors.

                                                     22              28.       At all relevant times, the 8-Year Transfers were voidable under California Civil

                                                     23 Code §§ 3439.04(a) and 3439.07 by one or more creditors who held and hold unsecured claims

                                                     24

                                                     25   5
                                                            The Trustee is permitted to “look back” up to ten years under California law as the Internal Revenue Service is a
                                                          creditor of the EA Bankruptcy Estate, and by operation of 11 U.S.C. 544, the Trustee steps in the shoes and obtains
                                                     26   the remedies and powers available to the creditor body. See 26 U.S.C. § 6502(a), Hillen v. City of Many Trees, LLC
                                                          (In re CVAH, Inc., 570 B.R. 816, 832-33 (Bankr. D. Idaho 2017).
                                                     27
                                                          6
                                                              The list of transfers is incomplete and is subject to further investigation and supplementation.
                                                     28

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                                                      1 against EA. These creditors include, without limitation, the IRS, the California Franchise Tax

                                                      2 Board, JFL, Stephanie Clifford, Gregory Barela, Geoffrey E. Johnson, William Parrish, Robert J.

                                                      3 Stoll, Jr., Stoll, Nussbaum & Polakov, a California Professional Corporation, 520 Newport Center

                                                      4 Drive, LLC, and those persons identified as Client 1, Client 2, Client 3, Client 4 and Client 5 in

                                                      5 the Grand Jury Indictment filed as Docket No.16, in United States of America v. Michael John

                                                      6 Avenatti, SA CR No. 19-00061 JVS, in the United States District Court, Central District of

                                                      7 California, Southern Division.

                                                      8          29.      At all relevant times, Avenatti caused EA to conceal from one or more of its

                                                      9 creditors that it had made the 8-Year Transfers with the intent to hinder, delay, or defraud one or

                                                     10 more of such creditors. Avenatti caused such transfers to be made from EA for his and the other

                                                     11 defendants’ personal benefit and not to benefit EA or any of its creditors. Because at all relevant
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                                                     12 times Avenatti was a person who had control over EA and its business and financial records, the
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                                                     13 fraudulent transfers alleged in this claim for relief for relief could not reasonably have been
           LLP




                                                     14 discovered by the claimants sooner than one year prior to the filing of this Complaint.

                                                     15          30.     To the extent that EA made the 8-Year transfers to (1) Storie, as the initial (first)

                                                     16 transferee, those transfers also were made for the benefit of Avenatti; (2) Avenatti, as the initial

                                                     17 (first) transferee, those transfers also were made for the benefit of Storie; (3) AA, as the initial

                                                     18 (first) transferee, those transfers also were made for the benefit of Avenatti; and (4) AA, as the

                                                     19 initial (first) transferee, and then transferred by AA to Storie, as an immediate (subsequent)

                                                     20 transferee, those transfers were for the benefit of Avenatti.

                                                     21                                    SECOND CLAIM FOR RELIEF

                                                     22     (Against All Defendants, To Avoid Intentionally Voidable Transfers of Money and Other

                                                     23     Property under 11 U.S.C. §§ 544(a), (b) and 550(a), and Cal. Civ. Code §§ 3439.04(a) and

                                                     24                                                 3439.07)

                                                     25          31.     The Trustee incorporates by reference and realleges paragraphs 1-23 of this

                                                     26 Complaint.

                                                     27          32.     During the four-year period immediately preceding the filing of this Complaint,

                                                     28 Avenatti directed and caused EA to make transfers of its property, including money, to or for the

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                                                      1 benefit of the defendants (including Avenatti) that exceeded the total amount, if any, that such

                                                      2 defendants paid to EA prior to and during such time period. That excess amount is referred to

                                                      3 herein as the “4-Year Transfers.” Exhibit 1 identifies the currently known money transfers made

                                                      4 by EA to or for the benefit of the defendants during this period that are part of the 4-Year

                                                      5 Transfers.

                                                      6          33.     The 4-Year Transfers were made by EA with the actual intent to hinder, delay, or

                                                      7 defraud its creditors. Specifically, Avenatti directed and caused EA to make these transfers to or

                                                      8 for the benefit of the defendants to fund his (and his wife) Storie’s opulent lifestyle and not to

                                                      9 sustain or promote the business of EA, even though he knew or consciously or recklessly chose to

                                                     10 ignore facts known to him that strongly suggested that EA (i) had not filed federal tax returns

                                                     11 since 2012; (ii) owed at least $2.4 million in back taxes and possible additional penalties to the
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                                                     12 IRS and (iii) had other pending creditor claims that were not being paid.
                          LOS ANGELES, CALIFO RNIA
                             ATTO RNEYS AT LA W




                                                     13          34.     The defendants did not take any of the 4-Year Transfers for a reasonably equivalent
           LLP




                                                     14 value and/or did not take such transfers in good faith. Specifically, such defendants (i) knew or

                                                     15
                                                          consciously or recklessly chose to ignore facts known to them that strongly suggested that the
                                                     16
                                                          transfers were of property belonging to EA because the transfers were identified as emanating
                                                     17
                                                          from that entity; (ii) knew or consciously or recklessly chose to ignore facts known to them that
                                                     18
                                                          strongly suggested that the value, if any, that the defendants provided in exchange for those
                                                     19

                                                     20 payments were not for the benefit of and did not benefit EA or its creditors; and (iii) knew or

                                                     21 consciously or recklessly chose to ignore facts known to them that strongly suggested the value, if

                                                     22 any, provided by them in exchange for such transfers conferred no or less than substantially

                                                     23
                                                          equivalent value upon EA and its creditors.
                                                     24
                                                                 35.     At all relevant times, the 4-Year Transfers were voidable under California Civil
                                                     25
                                                          Code §§ 3439.04(a) and 3439.07 by one or more creditors who held and hold unsecured claims
                                                     26

                                                     27 against EA. These creditors include, without limitation, the IRS, the California Franchise Tax

                                                     28 Board, JFL, Stephanie Clifford, Gregory Barela, Geoffrey E. Johnson, William Parrish, Robert J.

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                                                      1 Stoll, Jr., Stoll, Nussbaum & Polakov, a California Professional Corporation, 520 Newport Center

                                                      2 Drive, LLC, and those persons identified as Client 1, Client 2, Client 3, Client 4 and Client 5 in

                                                      3
                                                          the Grand Jury Indictment filed as Docket No.16, in United States of America v. Michael John
                                                      4
                                                          Avenatti, SA CR No. 19-00061 JVS, in the United States District Court, Central District of
                                                      5
                                                          California, Southern Division.
                                                      6
                                                                 36.     To the extent that EA made the 4-Year transfers to (1) Storie, as the initial (first)
                                                      7

                                                      8 transferee, those transfers also were made for the benefit of Avenatti; (2) Avenatti, as the initial

                                                      9 (first) transferee, those transfers also were made for the benefit of Storie; (3) AA, as the initial

                                                     10 (first) transferee, those transfers also were made for the benefit of Avenatti; and (4) AA, as the

                                                     11
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                                                          initial (first) transferee, and then transferred by AA to Storie, as an immediate (subsequent)
                                                     12
                          LOS ANGELES, CALIFO RNIA
                             ATTO RNEYS AT LA W




                                                          transferee, those transfers were for the benefit of Avenatti.
                                                     13
           LLP




                                                                                            THIRD CLAIM FOR RELIEF
                                                     14

                                                     15       (Against all Defendants, To Avoid and Recover Intentionally Fraudulent Transfers of

                                                     16                      Money and Other Property under 11 U.S.C. §548(a)(1)(A))

                                                     17          37.     The Trustee incorporates by reference and realleges paragraphs 1-23 of this

                                                     18 Complaint.

                                                     19          38.     During the two years prior to the Petition Date, Avenatti directed and caused EA to

                                                     20 make transfers of its property, including money, to or for the benefit of the defendants (including

                                                     21 Avenatti) that exceeded the total amount, if any, that such defendants paid to EA prior to and

                                                     22 during such time period. That excess amount is referred to herein as the “2-Year Transfers.”

                                                     23 Exhibit 1 identifies the currently known money transfers made by EA to or for the benefit of the

                                                     24 defendants during this period that are part of the 2-Year Transfers.

                                                     25          39.     The 2-Year Transfers were made by EA with the actual intent to hinder, delay, or

                                                     26 defraud its creditors. Specifically, Avenatti directed and caused EA to make these transfers to or

                                                     27 for the benefit of the defendants to fund his (and his wife) Storie’s opulent lifestyle and not to

                                                     28 sustain or promote the business of EA, even though he knew or consciously or recklessly chose to

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                                                      1 ignore facts known to him that strongly suggested that EA (i) had not filed federal tax returns

                                                      2 since 2012; (ii) owed at least $2.4 million in back taxes and possible additional penalties to the

                                                      3 IRS and (iii) had other pending creditor claims that were not being paid.

                                                      4          40.     The defendants did not take any of the 2-Year Transfers for a reasonably equivalent

                                                      5 value and/or did not take such transfers in good faith. Specifically, such defendants (i) knew or

                                                      6 consciously or recklessly chose to ignore facts known to them that strongly suggested that the

                                                      7 transfers were of property belonging to EA because the transfers were identified as emanating

                                                      8 from that entity; (ii) knew or consciously or recklessly chose to ignore facts known to them that

                                                      9 strongly suggested that the value, if any, that the defendants provided in exchange for those

                                                     10 payments were not for the benefit of and did not benefit EA or its creditors; and (iii) knew or

                                                     11 consciously or recklessly chose to ignore facts known to them that strongly suggested the value, if
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                                                     12 any, provided by them in exchange for such transfers conferred no or less than substantially
                          LOS ANGELES, CALIFO RNIA
                             ATTO RNEYS AT LA W




                                                     13 equivalent value upon EA and its creditors.
           LLP




                                                     14                                   FOURTH CLAIM FOR RELIEF

                                                     15     (Against all Defendants, To Avoid Preferential Transfers of Money and Other Property

                                                     16                                       under 11 U.S.C. §§ 547(b))

                                                     17          41.     The Trustee incorporates by reference and realleges paragraphs 1-23, 25-30, 32-36,

                                                     18 and 38-40 of this Complaint. This claim for relief is brought as an alternative to the first through

                                                     19 third claims for relief, but solely with respect to those transfers which are alleged therein to be

                                                     20 voidable transfers made within the one year period immediately preceding the Petition Date, and

                                                     21 only to the extent that a defendant alleges to have given reasonably equivalent value in exchange

                                                     22 for such transfer, and then only against that defendant. At all relevant times, each of the

                                                     23 defendants was, for the reasons set forth in paragraphs 1-23 of the Complaint, an insider of EA.

                                                     24          42.     During the 1 year prior to the Petition Date, EA made the transfers identified in

                                                     25 Exhibit 1 (the “1-Year Transfers”), to or for the benefit of the defendants, and according to proof

                                                     26 at trial. To the extent, if any, that the 1-Year Transfers were in payment of an obligation that EA

                                                     27 owed to the defendants, such obligation was an antecedent debt.

                                                     28          43.     As a result of the 1-Year Transfers, the defendants received from EA more than

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                                                      1 they would have received if such transfers had not been made and this case was a case under

                                                      2 chapter 7 of the Bankruptcy Code.

                                                      3                                      FIFTH CLAIM FOR RELIEF

                                                      4    (Against All Defendants, To Recover Avoided and/or Preferential Transfers of Money and
                                                      5         Other Personal Property under 11 U.S.C. § 550(a)(1), (a)(2) and Cal. Civ. Code §§
                                                      6                                                    3439.08(b))
                                                      7          44.     The Trustee incorporates by reference and realleges paragraphs 1-23, 25-30, 32-36,
                                                      8 38-40, and 41-43 of this Complaint.

                                                      9          45.     To the extent that the defendants, named and unnamed, are the initial transferees of
                                                     10 the transfers referred to in this Complaint and such transfers are voided, such defendants are

                                                     11 strictly liable for their return to the Trustee.
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                          LOS ANGELES, CALIFO RNIA




                                                                 46.     To the extent that the defendants, named and unnamed, are not the initial
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                                                     13 transferees of the transfers referred to in this Complaint, such defendants are subsequent
           LLP




                                                     14 transferees of the initial transferee of such payments.

                                                     15          47.     To the extent that the defendants, named and unnamed, are subsequent transferees
                                                     16 of the initial transferee of the transfers referred to in this Complaint, such defendants did not take

                                                     17 such transfers for value and/or in good faith and/or without knowledge of the voidability of such

                                                     18 transfers.

                                                     19          48.     Each of the transfers referred to in this claim for relief is recoverable from such
                                                     20 defendants, named and unnamed, as a subsequent transferee of the transfers that Avenatti directed

                                                     21 and caused EA to make to the initial transferees thereof.

                                                     22                                      SIXTH CLAIM FOR RELIEF
                                                     23      (Against All Defendants for Declaratory Relief and Turnover under 11 U.S.C. § 542(a))
                                                     24          49.     The Trustee incorporates by reference and realleges paragraphs 1-23 of this
                                                     25 Complaint.

                                                     26          50.     If any defendant may claim to be the original purchaser or owner of any of the four
                                                     27 pieces of art identified as 8-Year, 4-Year, 2-Year, or 1-Year transfers identified in the First

                                                     28 through Fourth Claims for Relief in this Complaint (the “EA Art”, described in Exhibit 2) and, for

                                                                                                               12
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                                                      1 that reason, such property is not voidable and recoverable by the Trustee under 11 U.S.C. §§

                                                      2 544(a), (b), 547(b), and 548(a)(1)(A), and the California Voidable Transfer Act, California Civil

                                                      3 Code §§ 3439, et seq., an actual and genuine controversy exists between such defendant(s) and the

                                                      4 Trustee as to the EA Bankruptcy Estate’s rights and interests in such property.

                                                      5          51.     The Trustee contends that (i) the EA Estate owns 100% of the property of EA in

                                                      6 existence on February 13, 2019, which property includes the EA Art; (ii) as the legal

                                                      7 representative of the EA Bankruptcy Estate, he holds exclusive, right, title and interest in such

                                                      8 property on behalf of the EA Bankruptcy Estate; (iii) the EA Bankruptcy Estate’s ownership,

                                                      9 right, title and interest in such property is free and clear of any and all other claims of ownership

                                                     10 by defendant and, as the representative of the EA Bankruptcy Estate, he is the only party

                                                     11 authorized to use and dispose of such property except as otherwise authorized by applicable law
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                                                     12 and subject to perfected security interests that are not avoidable.
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                                                     13          52.     The Trustee contends that defendants or one or more of them dispute to Trustee’s
           LLP




                                                     14 contentions set forth in this claim for relief and claim ownership or other rights in such property.

                                                     15          53.     Pursuant to California Civil Code § 3439.07(3)(C), the Trustee is entitled to a

                                                     16 judicial determination and a declaratory judgment that (i) the EA Bankruptcy Estate is the sole

                                                     17 owner of and holds exclusive right, title and interest in such property and the Trustee is the only

                                                     18 party authorized by law to exercise such rights; (ii) defendants’ post-receivership conduct in

                                                     19 connection with their pursuit of their purported claims to such property is a violation of law; and

                                                     20 (iii) to the extent that Storie files a claim against the EA Bankruptcy Estate for her support

                                                     21 judgment, the EA Bankruptcy Estate is not liable on any support judgment obtained by Storie, and

                                                     22 therefore Storie has no right to the EA Art.

                                                     23          54.     If this Court determines that the EA Bankruptcy Estate is the rightful owner EA Art

                                                     24 and, for that reason, such property is not voidable and recoverable by the Trustee under 11 U.S.C.

                                                     25 §§ 544(a), (b), 547(b), and 548(a)(1)(A) and the California Voidable Transfer Act, California Civil

                                                     26 Code §§ 3439, et seq., the Court should order that such property be turned over to the Trustee

                                                     27 pursuant to 11 U.S.C. § 542(a) as property that the Trustee may use, sell, or lease under 11 U.S.C.

                                                     28 § 363 et seq., that is not of inconsequential value or benefit to the EA Bankruptcy Estate.

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                                                      1                                   SEVENTH CLAIM FOR RELIEF

                                                      2                (Against Michael Avenatti and Does 1-10 for Breach of Fiduciary Duty)

                                                      3          55.      The Trustee incorporates by reference and re alleges paragraphs 1-23, 25-30, 32-36,

                                                      4 38-40, 41-43, and 45-48 of this Complaint.

                                                      5          56.      As the Managing Partner, an owner, and a person-in-charge of EA, at all relevant

                                                      6 times Avenatti owed the duties of a fiduciary to EA, including the duties of undivided loyalty to

                                                      7 EA and to act in EA’s best interest, which (i) prohibited him from undertaking or participating in

                                                      8 activities adverse to the interests of EA and its clients and other creditors; (ii) required him to

                                                      9 protect the assets of EA’s clients and co-counsel in the possession of EA for the benefit of such

                                                     10 persons; (iii) to the extent that EA was insolvent or on the verge of insolvency, required him to

                                                     11 protect EA’s assets for the benefit of its creditors; and (iv) required him to account to and keep EA
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                                                     12 and its clients fully informed as to all matters pertaining to its/their respective interests. Because
                          LOS ANGELES, CALIFO RNIA
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                                                     13 Avenatti was a person ultimately responsible for overseeing the day-to-day business operations
           LLP




                                                     14 and financial performance of EA and involved in supervising all aspects of EA’s financial affairs,

                                                     15 at all relevant times, he was well aware of the dubious financial condition (and other illegitimate

                                                     16 activities) of EA. Despite this knowledge, Avenatti caused EA to make the above described

                                                     17 transfers to or for himself and the other defendants in violation of EA’s rights and obligations to

                                                     18 its clients/creditors. In so doing, Avenatti breached his fiduciary duties of care and loyalty to EA,

                                                     19 and was a direct and proximate cause of, and a substantial factor in causing damage to EA and its

                                                     20 clients/creditors. Those damages are at least $17,000,000.00, and according to proof at trial.

                                                     21          57.      The wrongful conduct of Avenatti as alleged in this claim for relief, was willful,

                                                     22 wanton, malicious, oppressive, outrageous and fraudulent, and justifies an award of punitive

                                                     23 damages in an amount sufficient to punish said defendant and deter future conduct of this type.

                                                     24                                    EIGHTH CLAIM FOR RELIEF

                                                     25     (Against all Defendants for Preliminary and Permanent Injunction pursuant to Cal. Civ.

                                                     26                                        Code § 3439.07(a)(3)(A))

                                                     27          58.      The Trustee incorporates by reference and realleges paragraphs 1-23, 25-30, 32-36,

                                                     28 38-41, 43-47, and 50-54 of this Complaint.

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                                                      1          59.     Defendants’ claims and conduct with respect to the EA Art and other voidable

                                                      2 transferred EA property (including the 8-Year, 4-Year and 3-Year Transfers and their proceeds) is

                                                      3 a violation of the EA Bankruptcy Estate’s right, title and interest in and to such property and a

                                                      4 violation of the Trustee’s exclusive right of control over property of the EA Bankruptcy Estate.

                                                      5          60.     Pursuant to California Civil Code § 3439.07(3)(A), the Court should issue a

                                                      6 preliminary and permanent injunction restraining defendants and all others acting for them from

                                                      7 interfering in any way with the EA Bankruptcy Estate or its property, including the EA Art and the

                                                      8 Trustee’s administration of such property for the benefit of the EA Bankruptcy Estate and its

                                                      9 creditors.

                                                     10          61.     The applicable principles of equity dictate that defendants be preliminarily and

                                                     11 permanently enjoined from directly or indirectly transferring, selling, assigning, pledging,
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                                                     12 hypothecating, encumbering, dissipating, distributing or moving the assets of the EA Bankruptcy
                          LOS ANGELES, CALIFO RNIA
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                                                     13 Estate which have been fraudulently transferred to defendants by EA via the machinations of
           LLP




                                                     14 Avenatti.

                                                     15                                    NINTH CLAIM FOR RELIEF

                                                     16   (Against all Defendants for Disallowance of Proofs of Claim Pursuant to 11 U.S.C. § 502(d))

                                                     17          62.     The Trustee incorporates by reference and realleges paragraphs 1-23, 25-30, 32-36,

                                                     18 38-41, 43-47, and 50-54 of this Complaint.

                                                     19          63.     Defendants are in possession of or are intended beneficiaries of fraudulent or

                                                     20 preferential transfers that are recoverable for the benefit of the EA Bankruptcy Estate, pursuant to

                                                     21 11 U.S.C. §§ 544, 547, 548 and 550, and California Civil Code § 3439, et seq. Defendants have

                                                     22 failed and refused to disgorge those voidable and/or preferential transfers that are recoverable for

                                                     23 the benefit of the EA Bankruptcy Estate.

                                                     24          64.     To the extent that Defendants file proofs of claim against the EA Bankruptcy

                                                     25 Estate, and unless and until those voidable or preferential transfers are repaid in full to the EA

                                                     26 Bankruptcy Estate, no part of defendants’ proofs of claim are an allowable claim.

                                                     27 / / /

                                                     28 / / /

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                                                      1                                     TENTH CLAIM FO RELIEF

                                                      2    (Against Avenatti and AA and Does 1-10 for Equitable Subordination of Claims and Liens

                                                      3                                     Pursuant to 11 U.S.C. § 510(c))

                                                      4          65.     The Trustee incorporates by reference and realleges paragraphs 1-23, 25-30, 32-36,

                                                      5 38-41, 43-47, 50-54 and 62-63 of this Complaint.

                                                      6          66.     As the Managing Partner/an Owner/Person-in-Charge of EA, at all relevant times

                                                      7 Avenatti owed the duties of a fiduciary to EA, including the duties of undivided loyalty to EA and

                                                      8 to act in EA’s best interest, which (i) prohibited him from undertaking or participating in activities

                                                      9 adverse to the interests of EA and its clients and other creditors; (ii) required him to protect the

                                                     10 assets of EA’s clients and co-counsel in the possession of EA for the benefit of such persons; (iii)

                                                     11 to the extent that EA was insolvent or on the verge of insolvency, required him to protect EA’s
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                                                     12 assets for the benefit of its creditors; and (iv) required him to account to and keep EA and its
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                                                     13 clients fully informed as to all matters pertaining to its/their respective interests. Because
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                                                     14 Avenatti was a person ultimately responsible for overseeing the day-to-day business operations

                                                     15 and financial performance of EA, and involved in supervising all aspects of EA’s financial affairs,

                                                     16 at all relevant times, he was well aware of the dubious financial condition (and other illegitimate

                                                     17 activities) of EA. Despite this knowledge, Avenatti caused EA to make the above described

                                                     18 distributions to or for himself and the other defendants in violation of EA’s rights and obligations

                                                     19 to its creditors. In so doing, Avenatti breached his fiduciary duties to EA, and was a direct and

                                                     20 proximate cause of, and a substantial factor in causing damage to EA and its creditors in the

                                                     21 amount of the transfers made by EA to or for his own benefit and the benefit of the other

                                                     22 defendants.

                                                     23          67.     11 U.S.C. § 510(c) provides:

                                                     24          Notwithstanding subsections (a) and (b) of this section, after notice and a hearing, the

                                                     25          court may under principles of equitable subordination, subordinate for purposes of

                                                     26          distribution all or part of an allowed claim to all or part of another allowed claim or

                                                     27          all or part of an allowed interest to all or part of another allowed interest.

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                                                      1          68.     At all relevant times, Avenatti (and by extension AA and Does 1-10, acting at the

                                                      2 direction or under the control of or in concert with Avenatti) engaged in inequitable conduct

                                                      3 toward EA by pilfering the assets of a law firm (including client funds) for Avenatti’s own benefit,

                                                      4 including the wrongful conduct described throughout this Complaint, which has resulted in injury

                                                      5 to EA and its creditors. Among other wrongful conduct, in breach of his fiduciary duties to EA

                                                      6 and its creditors Avenatti improperly placed his own interests (and the interests of AA and Does 1-

                                                      7 10 acting at the direction or under the control of or in concert with Avenatti) over the interests of

                                                      8 EA and its creditors. This inequitable conduct has resulted in harm to EA, its creditors and the EA

                                                      9 Bankruptcy Estate in that EA’s general unsecured creditors are less likely to recover the full

                                                     10 amounts owed to them because of the wrongful conduct of Avenatti.

                                                     11          69.     Principles of equitable subordination require that any and all claims, whether or not
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                                                     12 yet filed of record, and whether or not secured, of Avenatti (and AA and Does 1-10 acting at the
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                                                     13 direction or under the control of or in concert with AA) against the EA Bankruptcy Estate be
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                                                     14 equitably subordinated to the allowed general unsecured claims against the EA Bankruptcy Estate,

                                                     15 and such equitable subordination is consistent with the provisions and purposes of the Bankruptcy

                                                     16 Code

                                                     17          WHEREFORE, the Trustee, on behalf of the EA Bankruptcy Estate, prays for judgment

                                                     18 against the defendants, and each of them, as follows:

                                                     19          1.      On the First Claim for Relief, for a judgment against the defendants that (i) avoids

                                                     20 the 8-Year Transfers from EA to or for the benefit of the defendants as actual voidable transfers

                                                     21 and (ii) imposes a constructive trust on the 8-Year Transfers and any proceeds thereof;

                                                     22          2.      On the Second Claim for Relief, for a judgment against the defendants that (i)

                                                     23 avoids the 4-Year Transfers from EA to or for the benefit of the defendants as actual voidable

                                                     24 transfers and (ii) imposes a constructive trust on the 4-Year Transfers and any proceeds thereof;

                                                     25          3.      On the Third Claim for Relief, for a judgment against the defendants that (i) avoids

                                                     26 the 2-Year Transfers from EA to or for the benefit of the defendants as actual voidable transfers

                                                     27 and (ii) imposes a constructive trust on the 2-Year Transfers and any proceeds thereof;

                                                     28          4.      On the Fourth Claim for Relief, for a judgment against the defendants that avoids

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                                                      1 the 1-Year Transfers from EA to or for the benefit of the defendants as preferential transfers

                                                      2          5.      On the Fifth Claim for Relief, for a judgment against the defendants that awards

                                                      3 damages in an amount equal to the value of the 8, 4, 2, and 1-Year Transfers at the time those

                                                      4 transfers were made;

                                                      5          6.      On the Sixth Claim for Relief, for a judgment against the defendants for the

                                                      6 turnover of the EA Art to the Trustee and a declaratory judgment determining that the Trustee, as

                                                      7 the legal representative of the EA Bankruptcy Estate (i) is the sole owner of and holds exclusive

                                                      8 right, title and interest in the EA Art and such ownership is free and clear of any and all claims of

                                                      9 ownership by the defendants; (ii) is the only party authorized by law to exercise right, title and

                                                     10 interest in the EA Estate and its property, including the EA Art, and is the only party authorized to

                                                     11 exercise such rights; and (iii) to the extent Storie files a claim against the EA Bankruptcy Estate
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                                                     12 for her support judgment, that the EA Bankruptcy Estate is not liable on any support judgment
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                                                     13 obtained by Storie;
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                                                     14          7.      On the Seventh Claim for Relief, for a judgment against Avenatti and any hereafter

                                                     15 named defendants for breach of fiduciary duty for compensatory and exemplary damages in an

                                                     16 amount to be determined at trial;

                                                     17          8.      On the Eighth Claim for Relief, for a judgment against defendants preliminarily

                                                     18 and permanently enjoining and preventing defendants from directly or indirectly transferring,

                                                     19 selling, assigning, pledging, hypothecating, encumbering, dissipating, distributing or moving the

                                                     20 fraudulently transferred assets of the EA Bankruptcy Estate or the proceeds thereof and their

                                                     21 personal assets (except as necessary in the ordinary course of business or for normal living

                                                     22 expenses), or from interfering in any way with the EA Bankruptcy Estate or its property, including

                                                     23 the EA Art, until judgment in this proceeding has been satisfied;

                                                     24          9.      On the Ninth Claim for Relief, for a judgment against defendants disallowing any

                                                     25 and all proofs of claim, whether or not yet filed of record, of the defendants against the EA

                                                     26 Bankruptcy Estate;

                                                     27          10.     On the Tenth Claim for Relief, for a judgment against defendants equitably

                                                     28 subordinating any and all claims and/or liens, whether or not yet filed of record, of the defendants

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                                                      1 against the EA Bankruptcy Estate to the allowed general unsecured claims against the EA

                                                      2 Bankruptcy Estate;

                                                      3         11.    For pre and post-judgment interest at the applicable legal rate on all damages and

                                                      4 sums awarded to the Trustee; and

                                                      5         12.    For such other relief as the Court deems just and proper.

                                                      6

                                                      7   Dated: September 16, 2019                    LANDAU GOTTFRIED & BERGER LLP

                                                      8
                                                                                                       By_         /s/ Jack A. Reitman
                                                      9
                                                                                                                      Jack A. Reitman
                                                     10                                                Proposed Special Litigation Attorneys for
                                                                                                       Richard A. Marshack,
                                                     11                                                Chapter 7 Trustee for Eagan Avenatti, LLP
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Date      Amount         Transaction Kind   Check #     Description
6/24/2014    (52,957.30) Wire                           WIRE/OUT-2014062400002774;BNF ALEDMI LLC 1302400814
6/13/2014 (2,150,000.00) Wire                           WIRE/OUT-2014061300004116;BNF ALEDMI LLC 1302002456




                                                      EXHIBIT 1
                                                         20
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Date      Amount      Transaction Kind   Check #   Description
6/18/2018 (16,000.00) Wire                         WIRE/OUT-2018061800005930;BNF Alexis Gardner 1304301667




                                                   EXHIBIT 1
                                                      21
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Date        Amount       Transaction Kind   Check #   Description
  11/13/2017 (18,171.27) Wire                         WIRE/OUT-2017111300006071;BNF Alki Bakery Inc 1304401264
   12/7/2017 (17,433.01) Wire                         WIRE/OUT-2017120700003191;BNF Alki Bakery Inc 1304500799
  12/13/2017 (13,424.37) Wire                         WIRE/OUT-2017121300005819;BNF Alki Bakery Inc. 1304401594
  12/20/2017 (13,801.83) Wire                         WIRE/OUT-2017122000006881;BNF Alki Bakery Inc. 1304101892
  12/28/2017 (13,480.78) Wire                         WIRE/OUT-2017122800007159;BNF Alki Bakery 1304402028
    1/2/2018 (13,536.63) Wire                         WIRE/OUT-2018010200007247;BNF Alki Bakery 1304801892
    1/9/2018 (12,880.92) Wire                         WIRE/OUT-2018010900003615;BNF Alki Bakery 1304400940
   1/22/2018 (10,269.61) Wire                         WIRE/OUT-2018012200004909;BNF Alki Bakery 1303901165
   2/20/2018    (10,113.30) Wire                      WIRE/OUT-2018022000007807;BNF Alki Bakery Inc. 1305202152




                                                      EXHIBIT 1
                                                         22
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Date        Amount      Transaction Kind   Check #   Description
 9/3/2013   (30,000.00) Wire                         WIRE/OUT-2013090300005540;BNF ANDREW DAVIS 1301601838
3/14/2013   (20,000.00) Wire                         WIRE/OUT-2013031400005275;BNF ANDREW DAVIS 1300401716
3/11/2013   (10,000.00) Wire                         WIRE/OUT-2013031100005554;BNF ANDREW DAVIS 1300201754




                                                     EXHIBIT 1
                                                        23
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Date        Amount      Transaction Kind   Check #   Description
 10/18/2016 (12,914.00) Wire                         WIRE/OUT-2016101800005883;BNF B-Squared Construction Inc 1305001545




                                                         EXHIBIT 1
                                                            24
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Date      Amount      Transaction Kind   Check #   Description
3/22/2013 (17,300.00) Wire                         WIRE/OUT-2013032200011100;BNF BMC & GEE 1300201938




                                                   EXHIBIT 1
                                                      25
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Date         Amount         Transaction Kind   Check #   Description
   1/17/2014    (30,000.00) Wire                         WIRE/OUT-2014011700006103;BNF BOB FAIETA DBA COMPETITION 1302001776
  12/16/2013   (100,000.00) Wire                         WIRE/OUT-2013121600004191;BNF BOB FAIETA DBA COMPETITION 1302001282




                                                             EXHIBIT 1
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Date      Amount        Transaction Kind   Check #   Description
1/11/2017  200,000.00 Wire                           WIRE/IN-2017011100004444;ORG CASCADE CAPITAL GROUP, LLC 1304101117
6/17/2016 (213,099.00) Wire                          WIRE/OUT-2016061700007208;BNF Cascade Capital Group, LLC 1303701954
6/17/2016 (268,135.00) Wire                          WIRE/OUT-2016061700007207;BNF Cascade Capital Group, LLC 1303701952
9/24/2015    79,239.00 Wire                          WIRE/IN-2015092400006524;ORG CASCADE CAPITAL GROUP, LLC 1303701716
9/24/2015  170,761.00 Wire                           WIRE/IN-2015092400006519;ORG CASCADE CAPITAL GROUP LLC 1303701712
 2/5/2015   (18,000.00) Check              15011     15011* | Cascade Capital Group
6/26/2014   (15,640.00) Wire                         WIRE/OUT-2014062600003936;BNF CASCADE CAPITAL GROUP CASH BAL 1302201056
6/26/2014 (368,496.00) Wire                          WIRE/OUT-2014062600003549;BNF CASCADE CAPITAL GROUP 1302200968
3/19/2013  250,000.00 Wire                           WIRE/IN-2013031900003659;ORG CASCADE CAPITAL GROUP LLC 1300301246

Net:        (183,370.00)




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Date        Amount      Transaction Kind   Check #   Description
3/28/2014   (25,000.00) Wire                         WIRE/OUT-2014032800004438;BNF CHRISTINE AVENATTI CARLIN 1301901168
 3/5/2014   (10,000.00) Wire                         WIRE/OUT-2014030500005461;BNF CHRISTINE AVENATTI CARLIN 1301901727
2/10/2014   (10,000.00) Wire                         WIRE/OUT-2014021000005200;BNF CHRISTINE AVENATTI CARLIN 1302101594
 9/4/2013   (10,000.00) Wire                         WIRE/OUT-2013090400006502;BNF CHRISTINE AVENATTI CARLIN 1301601952




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Date        Amount      Transaction Kind   Check #   Description
 12/23/2013 (50,000.00) Wire                         WIRE/OUT-2013122300005010;BNF DAMIEN FAULKNER;OBI ACCT# 1880 1302001464




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Date      Amount         Transaction Kind   Check #   Description
 7/5/2013   (100,000.00) Wire                         WIRE/OUT-2013070500004274;BNF DEMPSEY RACING LLC 1301701466
4/10/2013   (175,000.00) Wire                         WIRE/OUT-2013041000006807;BNF DEMPSEY RACING LLC 1300302170




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Date        Amount      Transaction Kind    Check #   Description
  2/20/2018 (17,955.70) Wire                          WIRE/OUT-2018022000007787;BNF Dillanos Coffee Roasters 1305202144
 11/13/2017 (31,737.15) Wire                          WIRE/OUT-2017111300006072;BNF Dillanos Coffee Roasters 1304401266




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Date      Amount      Transaction Kind   Check #   Description
3/28/2013 (10,542.96) Wire                         WIRE/OUT-2013032800007641;BNF DRIVING HOLIDAYS LIMITED 1300301888




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Date        Amount         Transaction Kind   Check #   Description
  11/9/2016     (1,837.04) Check              15847     15847 | Law Offices of Michael Q. Eagan
  9/22/2016     (1,980.98) Check              15792     15792 | Law Offices of Michael Q. Eagan
  6/29/2016       (946.13) Check              15724     15724* | Law Offices of Michael Q. Eagan
  6/16/2016     (1,615.90) Check              15704     15704* | Law Offices of Michael Q. Eagan
  3/29/2016     (1,262.71) Check              15578     15578 | Law Offices Of Michael Q Eagan
   3/1/2016     (1,924.86) Check              15561     15561* | Law Offices Of Michael Q Eagan
  11/9/2015     (2,209.09) Check              15374     15374 | Law Offices of Micheal Q. Eagan
 10/29/2015     (1,717.45) Check              15334     15334* | Law Offices of Micheal Q. Eagan
  2/13/2015     (2,331.74) Check              15083     15083 | Law Offices of Michael Q. Eagan
   1/5/2015     (3,116.25) Check              10031     10031 | Law Offices Of Michael Q Eagen
   7/7/2014       (984.67) Check              9738      9738* | Law Offices of Michael Q. Eagan
  3/24/2014     (2,247.98) Check              9478      9478 | Law Offices Of Michael Q. Eagan
  12/9/2013     (3,769.45) Check              9324      9324 | Law Offices Of Michael Q Eagan
 11/20/2013     (3,436.73) Check              9246      9246 | Law Offices Of Michael Q Eagan
  6/28/2013     (2,442.57) Check              9036      9036 | Law Offices of Michael Q Eagan
  6/20/2013   (100,000.00) Wire                         WIRE/OUT-2013062000004949;BNF LAW OFFICES OF MICHAEL Q. EAGA 1301901464
  6/17/2013    100,000.00 Wire                          WIRE/IN-2013061700006299;ORG LAW OFFICES OF MICHAEL Q EAGAN 1301801908

Net:           (31,823.55)




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Date      Amount      Transaction Kind   Check #   Description
1/15/2013 (18,500.00) Wire                         WIRE/OUT-2013011400006764;BNF ELITE TIME INC 1300300058




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    Date      Amount      Transaction Kind   Check #   Description
     6/5/2014 (35,888.50) Check              9657      9657 | Evergreen Barbecue INC
    7/10/2013 (2,198.55) Check               9012      9012 | Evergreen Barbecue Inc
     1/3/2013 (8,642.08) Check               8752      8752*    | Evergreen Barbecue, Inc.




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  5/23/2016      (42,555.22) Check              15680     15680 | Foster Pepper
 12/24/2014     (361,000.00) Wire                         WIRE/OUT-2014122400005346;BNF FOSTER PEPPER PLLC 1303601470
  5/23/2014     (500,000.00) Wire                         WIRE/OUT-2014052300004221;BNF FOSTER PEPPER PLLC 1302001201
  7/11/2013    1,810,288.22 Wire                          WIRE/IN-2013071100003573;ORG FOSTER PEPPER PLLC;OBI SETTLEME 1301901032
   7/9/2013      350,000.00 Wire                          WIRE/IN-2013070900004440;ORG FOSTER PEPPER PLLC;OBI SETTLEME 1302301250
   7/5/2013    1,500,000.00 Wire                          WIRE/IN-2013070500006651;ORG FOSTER PEPPER PLLC;OBI IN PAYME 1301702097
   7/2/2013    2,429,893.13 Wire                          WIRE/IN-2013070200005143;ORG FOSTER PEPPER PLLC;OBI RETURN O 1301901568
  6/25/2013   (7,000,000.00) Wire                         WIRE/OUT-2013062500005049;BNF FOSTER PEPPER PLLC IOLTA TRUST 1302101415

Net:          (1,813,373.87)




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 3/7/2014 (95,000.00) Wire                         WIRE/OUT-2014030700002993;BNF FREIGHTLINER STERLING 1302000754




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  3/7/2014 (30,000.00) Wire                         WIRE/OUT-2014030700004745;BNF GALLO BUILDERS INC 1302001294
12/16/2013 (61,000.00) Wire                         WIRE/OUT-2013121600004113;BNF GALLO BUILDERS INC. 1302001270




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  Eagan Avenatti, LLP
  Inflows & Outflows Between Eagan Avenatti, LLP and Global Barristas

  Summary
  Infllows                                                                                  8,124,217.80
  Outflows                                                                                (10,608,939.16)
  Net Inflow (Outflow)                                                                     (2,484,721.36)


  Date         Description                                              Inflows        Outflows
     7/26/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008349 2307600651            -             (10.00)
     7/25/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005416 2308501777            -         (39,650.00)
     7/11/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000717 2307700721            -         (11,000.00)
     7/10/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004582 2308100889            -         (14,400.00)
     7/10/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000167 2308100895            -            (200.00)
      7/9/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009264 2309103917            -            (650.00)
      7/3/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004371 2308002461            -            (600.00)
     6/27/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001444 2307401731            -         (22,300.00)
     6/22/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006870 2308400941            -            (320.00)
     6/21/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007351 2307500635            -             (60.00)
     6/20/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006760 2308100637            -            (400.00)
     6/14/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004286 2307601875            -          (7,400.00)
     6/12/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003827 2308604101            -         (17,300.00)
      6/6/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005349 2307600793            -            (636.00)
      6/4/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001880 2307904753            -            (185.00)
      6/1/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009971 2308101907            -             (10.00)
     5/31/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007433 2308201335            -          (6,225.00)
     5/30/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004035 2308400915            -         (17,600.00)
     5/29/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003739 2309300364       905.00              -
     5/25/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004993 2308601324     4,000.00              -
     5/22/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004174 2307900567            -            (320.00)
     5/21/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009901 2308603817            -            (200.00)
     5/18/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002383 2308701035            -          (2,000.00)
     5/17/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004737 2308000605            -          (3,100.00)
     5/16/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005090 2308102791            -         (12,000.00)
     5/16/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003028 2308102785            -             (95.00)
     5/15/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009546 2308101153            -          (7,500.00)
      5/8/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002788 2308501508     1,900.00              -
      5/4/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005057 2308401121            -          (1,600.00)
      5/3/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002459 2308400750 38,400.00                 -
      5/1/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009387 2308003971            -          (1,000.00)
      5/1/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005946 2308002713            -         (16,000.00)
     4/27/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002952 2308300977            -          (1,750.00)
     4/27/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002608 2308303985            -          (2,500.00)
     4/26/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000010 2307600671            -          (6,000.00)
     4/24/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007091 2308100517            -         (22,000.00)
     4/20/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004253 2308601039            -          (2,700.00)
     4/19/2018 WIRE/IN-2018041900000723;ORG GLOBAL BARISTAS US LLC;REF 0852 1304700378
                                                                              9,380.00              -
     4/19/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007016 2308203469            -          (2,000.00)
     4/18/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003022 2308200781            -         (23,100.00)
     4/17/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009740 2308100869            -          (1,000.00)
     4/17/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004900 2308100867            -         (12,500.00)
     4/16/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008105 2308604521            -          (3,200.00)
     4/13/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005593 2308300987            -            (200.00)
     4/12/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005183 2308100707            -            (500.00)
     4/11/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003267 2307800621            -            (200.00)
     4/10/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008509 2307500735            -          (4,000.00)
     4/10/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005037 2307504803            -            (100.00)
      4/9/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009064 2308805521            -          (4,800.00)
      4/6/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003221 2308500963            -         (12,500.00)
      4/5/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006369 2308200905            -         (46,000.00)
      4/5/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005142 2308203715            -          (5,000.00)
      4/5/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002366 2308200921            -         (10,000.00)
      4/4/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003545 2308302223            -         (23,000.00)
      4/4/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003633 2308303305            -         (20,000.00)
      4/3/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006370 2308201545            -          (1,200.00)
      4/3/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005287 2308201519            -         (18,900.00)
      4/2/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007033 2308306151            -            (700.00)



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  Date         Description                                              Inflows        Outflows
     3/30/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003906 2308100945            -            (400.00)
     3/29/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006250 2308300677            -          (2,300.00)
     3/28/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007790 2307402221            -          (1,000.00)
     3/28/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007331 2307402217            -            (250.00)
     3/27/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009908 2308100621            -          (4,000.00)
     3/26/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003070 2308603957            -          (2,000.00)
     3/23/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007814 2307801941            -          (5,000.00)
     3/22/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008752 2308102091            -         (19,100.00)
     3/21/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006202 2307501837            -         (44,700.00)
     3/20/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005478 2308500691            -         (39,100.00)
     3/20/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000337 2308500689            -          (4,600.00)
     3/15/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009978 2307902421            -          (1,200.00)
     3/14/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003486 2307601731            -          (3,100.00)
     3/13/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006196 2308000562       650.00              -
     3/12/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008757 2308404259            -          (2,200.00)
     3/12/2018 WIRE/IN-2018031200005036;ORG GLOBAL BARISTAS US LLC;REF 9952 1304701465
                                                                              5,900.00              -
      3/9/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004914 2308402309            -         (15,500.00)
      3/7/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002792 2308202141            -          (3,700.00)
      3/7/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001972 2308201757            -         (19,000.00)
      3/7/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000936 2308200615            -            (700.00)
      3/7/2018 WIRE/IN-2018030700005086;ORG GLOBAL BARISTAS US LLC;REF 1152 1304301551
                                                                              9,100.00              -
      3/6/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000008 2308500751            -         (14,200.00)
      3/5/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006124 2308704520     5,150.00              -
      3/5/2018 WIRE/IN-2018030500005760;ORG GLOBAL BARISTAS US LLC;REF 935229,500.00
                                                                              1303801707            -
      3/5/2018 WIRE/IN-2018030500003694;ORG GLOBAL BARISTAS US LLC;REF 045211,400.00
                                                                              1303801128            -
      3/2/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006008 2308802989            -          (6,500.00)
      3/2/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008757 2308801110     9,200.00              -
      3/1/2018 WIRE/IN-2018030100003337;ORG GLOBAL BARISTAS US LLC;REF 935112,800.00
                                                                              1305101114            -
     2/28/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002598 2308200998     3,750.00              -
     2/28/2018 WIRE/IN-2018022800009311;ORG GLOBAL BARISTAS US LLC;REF 0151 1304202172
                                                                              3,850.00              -
     2/27/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002653 2308200738 10,700.00                 -
     2/27/2018 WIRE/IN-2018022700005602;ORG GLOBAL BARISTAS US LLC;REF 1051 1304801644
                                                                              5,250.00              -
     2/26/2018 WIRE/IN-2018022600006116;ORG GLOBAL BARISTAS US LLC;REF 055111,200.00
                                                                              1305201442            -
     2/23/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 2308305165                      -          (2,500.00)
     2/23/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009584 2308302265            -          (2,625.00)
     2/23/2018 WIRE/IN-2018022300004785;ORG GLOBAL BARISTAS US LLC;REF 1051 1304401350
                                                                              1,600.00              -
     2/23/2018 WIRE/IN-2018022300003991;ORG GLOBAL BARISTAS US LLC;REF 9851 1304401136
                                                                              3,500.00              -
     2/22/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001920 2307902081            -         (22,200.00)
     2/22/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001015 2307901897            -          (1,100.00)
     2/22/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000155 2307904845            -          (2,800.00)
     2/22/2018 WIRE/IN-2018022200003731;ORG GLOBAL BARISTAS US LLC;REF 9751 1304601006
                                                                              8,650.00              -
     2/22/2018 WIRE/IN-2018022200004689;ORG GLOBAL BARISTAS US LLC;REF 8951 1304601246
                                                                              2,800.00              -
     2/22/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003420 2307900015            -          (2,000.00)
     2/21/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008909 2308403193            -          (2,000.00)
     2/21/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007333 2308400791            -         (30,750.00)
     2/21/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003030 2308400787            -          (4,900.00)
     2/20/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007325 2309208281            -          (2,000.00)
     2/20/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007297 2309206170 38,300.00                 -
     2/20/2018 WIRE/IN-2018022000007190;ORG GLOBAL BARISTAS US LLC;REF 985125,500.00
                                                                              1305201977            -
     2/16/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005595 2308501439            -          (4,600.00)
     2/15/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002219 2307900996     9,300.00              -
     2/14/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002441 2307701016 11,800.00                 -
     2/14/2018 WIRE/IN-2018021400005056;ORG GLOBAL BARISTAS US LLC;REF 095125,300.00
                                                                              1304101416            -
     2/13/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001319 2308101341            -          (9,000.00)
     2/13/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009298 2308100746     9,800.00              -
     2/13/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007949 2308101346     9,000.00              -
      2/9/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001447 2308101055            -          (4,000.00)
      2/9/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000698 2308101049            -            (150.00)
      2/9/2018 WIRE/IN-2018020900005385;ORG GLOBAL BARISTAS US LLC;REF 1151 1304001659
                                                                              9,500.00              -
      2/8/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008036 2307600669            -          (6,700.00)
      2/8/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005851 2307600665            -          (1,000.00)
      2/7/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000506 2307901267            -         (56,400.00)
      2/7/2018 WIRE/IN-2018020700005309;ORG GLOBAL BARISTAS US LLC;REF 965110,000.00
                                                                              1304401515            -
      2/6/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008987 2308100719            -         (15,000.00)
      2/6/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007133 2308100707            -          (5,250.00)
      2/6/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003022 2308102993            -         (30,000.00)
      2/5/2018 WIRE/IN-2018020500004910;ORG GLOBAL BARISTAS US LLC;REF 0751 1304701386
                                                                              9,100.00              -



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  Date         Description                                                 Inflows        Outflows
      2/5/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008345 2308104618        2,800.00              -
      2/2/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000000340 2308802262        8,800.00              -
      2/1/2018 WIRE/IN-2018020100006420;ORG GLOBAL BARISTAS US LLC;REF 045120,700.00
                                                                                 1304701811            -
     1/25/2018 WIRE/IN-2018012500007111;ORG GLOBAL BARISTAS US LLC;REF 9951 1304401735
                                                                                 6,850.00              -
     1/24/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005436 2307701067               -         (24,700.00)
     1/24/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004132 2307701057               -         (12,500.00)
     1/24/2018 WIRE/IN-2018012400005495;ORG GLOBAL BARISTAS US LLC;REF 065111,900.00
                                                                                 1304201388            -
     1/23/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002149 2307900755               -         (12,100.00)
     1/23/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001824 2307900769               -          (9,200.00)
     1/22/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006601 2309207621               -          (2,700.00)
     1/22/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009430 2309203680        5,000.00              -
     1/22/2018 WIRE/IN-2018012200005442;ORG GLOBAL BARISTAS US LLC;REF 085125,700.00
                                                                                 1303901319            -
     1/19/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004373 2308600755               -            (100.00)
     1/19/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002938 2308600749               -          (3,400.00)
     1/18/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006330 2307500839               -         (10,000.00)
     1/18/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000000224 2307500610        4,100.00              -
     1/17/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003190 2308600614        1,600.00              -
     1/17/2018 WIRE/IN-2018011700005825;ORG GLOBAL BARISTAS US LLC;REF 075143,000.00
                                                                                 1304602041            -
     1/16/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003558 2308808365               -          (8,000.00)
     1/16/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004839 2308806734 25,400.00                    -
     1/12/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003359 2308702427               -         (11,000.00)
     1/12/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008939 2308701694        8,600.00              -
     1/11/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001344 2308000595               -          (8,300.00)
     1/10/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000657 2307701279               -          (6,650.00)
     1/10/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000436 2307701285               -         (59,700.00)
      1/9/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009378 2307800993               -          (1,200.00)
      1/9/2018 WIRE/IN-2018010900004542;ORG GLOBAL BARISTAS US LLC;REF 925118,500.00
                                                                                 1304401212            -
      1/8/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009883 2309304081               -          (2,400.00)
      1/5/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009775 2308301056 10,500.00                    -
      1/5/2018 WIRE/IN-2018010500006101;ORG GLOBAL BARISTAS US LLC;REF 9451 1304601897
                                                                                 7,100.00              -
      1/4/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003051 2308502321               -          (8,700.00)
      1/4/2018 WIRE/IN-2018010400005474;ORG GLOBAL BARISTAS US LLC;REF 9351 1304201340
                                                                                   670.00              -
      1/4/2018 WIRE/IN-2018010400004126;ORG GLOBAL BARISTAS US LLC;REF 0551 1304200961
                                                                                 5,680.00              -
      1/3/2018 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006130 2307902535               -         (24,500.00)
      1/3/2018 WIRE/IN-2018010300004136;ORG GLOBAL BARISTAS US LLC;REF 9451 1304300939
                                                                                 3,700.00              -
      1/3/2018 WIRE/IN-2018010300003522;ORG GLOBAL BARISTAS US LLC;REF 985111,000.00
                                                                                 1304300779            -
      1/3/2018 WIRE/IN-2018010300003412;ORG GLOBAL BARISTAS US LLC;REF 095113,500.00
                                                                                 1304300747            -
      1/2/2018 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003166 2308006480 15,500.00                    -
    12/29/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003987 2308201515               -            (500.00)
    12/29/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003630 2308201511               -          (5,600.00)
    12/28/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003903 2306700851               -         (37,400.00)
    12/28/2017 WIRE/IN-2017122800007360;ORG GLOBAL BARISTAS US LLC;REF 945113,500.00
                                                                                 1304402074            -
    12/27/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003462 2307600715               -         (37,600.00)
    12/26/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009240 2307604443               -          (5,500.00)
    12/26/2017 WIRE/IN-2017122600005676;ORG GLOBAL BARISTAS US LLC;REF 025132,000.00
                                                                                 1304001938            -
    12/22/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004106 2307804579               -          (5,000.00)
    12/22/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003500 2307801158        8,800.00              -
    12/21/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001096 2307700586 14,700.00                    -
    12/20/2017 WIRE/IN-2017122000006699;ORG GLOBAL BARISTAS US LLC;REF 085150,900.00
                                                                                 1304101816            -
    12/19/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004689 2307600716 29,400.00                    -
    12/18/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004743 2308604159               -         (10,500.00)
    12/15/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001423 2308501068        6,700.00              -
    12/14/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007188 2307700629               -         (11,000.00)
    12/12/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002406 2308400831               -          (5,000.00)
    12/12/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000275 2308400835               -         (25,000.00)
     12/7/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002914 2307801011               -         (14,000.00)
     12/6/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000009652 2308100725               -         (25,000.00)
     12/5/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008489 2308302077               -         (10,300.00)
     12/1/2017 WIRE/OUT-2017120100005324;BNF Global Baristas US LLC;OBI 461 1304601589-         (85,683.81)
    11/30/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006742 2307900907               -         (56,000.00)
    11/29/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004591 2307700951               -         (43,000.00)
    11/24/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008467 2307400029               -         (11,000.00)
    11/21/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007277 2307901917               -         (40,000.00)
    11/14/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000815 2308100651               -         (40,000.00)
    10/31/2017 WIRE/OUT-2017103100007949;BNF GLOBAL BARISTAS US LLC;OBI 461 1304201899-        (121,468.74)
    10/31/2017 WIRE/OUT-2017103100007948;BNF GLOBAL BARISTAS US LLC;OBI 461 1304201897-        (142,191.51)
     10/5/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008966 2308200877               -         (27,000.00)



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  Date         Description                                              Inflows        Outflows
     10/4/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008621 2308401225            -         (95,000.00)
     3/20/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005634 2307004442 20,000.00                 -
      3/7/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008262 2306801674 14,600.00                 -
      3/7/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004844 2306803914 500,000.00                -
      3/6/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005724 2307305846 75,000.00                 -
      3/6/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002328 2307304548 30,000.00                 -
      3/3/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005814 2307301196 10,100.00                 -
      3/1/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004445 2306801736 63,000.00                 -
     2/24/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000000120 2307701092 35,500.00                 -
     2/23/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009255 2307400678 13,000.00                 -
     2/22/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006911 2307100558 13,000.00                 -
     2/21/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009197 2308006852     4,500.00              -
     2/17/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007401 2306702152 17,000.00                 -
     2/16/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001428 2307500730 55,000.00                 -
      2/2/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005938 2307201855            -         (78,500.00)
      2/1/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005502 2307201855            -         (11,500.00)
     1/20/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005037 2307602135            -        (350,000.00)
     1/18/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005270 2306801852 10,500.00                 -
     1/12/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006977 2307300592     2,500.00              -
     1/11/2017 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008773 2307102597            -         (50,000.00)
     1/11/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007395 2307101364 52,000.00                 -
      1/9/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001959 2307205462 81,000.00                 -
      1/4/2017 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002376 2306900832 16,500.00                 -
    12/30/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005269 2307000852 10,000.00                 -
    12/28/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008467 2307100898     3,000.00              -
    12/27/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003201 2307204472 12,000.00                 -
    12/23/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006909 2307103902 30,000.00                 -
    12/21/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001084 2307200718     8,500.00              -
     12/7/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003136 2307000617            -         (26,000.00)
     12/5/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006116 2306708926     2,000.00              -
     12/5/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002570 2306704674 18,000.00                 -
     12/1/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009210 2307501578 56,000.00                 -
    11/25/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007037 2306302756 10,000.00                 -
     11/3/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001344 2307203503            -         (60,000.00)
     11/1/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002994 2306701806 87,500.00                 -
    10/27/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000237 2307804009            -         (26,000.00)
    10/21/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003901 2307602600 20,000.00                 -
    10/18/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002245 2307503056 13,000.00                 -
    10/13/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009003 2307700616     5,000.00              -
    10/12/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003117 2306800756 15,000.00                 -
      9/9/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007633 2307103301            -         (75,000.00)
      9/6/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001388 2307605760 13,000.00                 -
      9/1/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000000789 2306401814 42,000.00                 -
     8/11/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008176 2306200696 86,500.00                 -
     5/27/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001916 2307401039            -         (50,000.00)
     5/17/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000000348 2307102392     2,000.00              -
     5/17/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007670 2307100514 22,000.00                 -
     5/16/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004659 2307806862 15,000.00                 -
     5/13/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005512 2307601623            -         (22,000.00)
     5/12/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001471 2306902410 81,000.00                 -
     5/10/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006426 2306504693            -        (100,000.00)
     5/10/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003284 2306502506 100,000.00                -
     5/10/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001290 2306500666     7,800.00              -
      5/6/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009742 2307200904     2,000.00              -
      5/3/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006461 2307203858 50,000.00                 -
      5/3/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003368 2307200802 38,000.00                 -
      5/2/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001748 2307905508 90,000.00                 -
     4/27/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007833 2306803765            -         (76,500.00)
     4/27/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006279 2306800675            -          (7,500.00)
     4/27/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008736 2306800638     7,500.00              -
     4/27/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007601 2306800644     7,500.00              -
     4/27/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005395 2306803758 85,000.00                 -
     4/25/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002581 2307701007            -        (220,000.00)
     4/25/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005972 2307707034 13,000.00                 -
     4/22/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005196 2307500608     2,200.00              -
     4/21/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002448 2306900680       800.00              -
     4/20/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004238 2306700556     5,100.00              -



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  Date         Description                                                 Inflows        Outflows
     4/19/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002591 2307301536        1,000.00              -
     4/13/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004530 2306500654        7,000.00              -
     4/11/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003663 2307703876 12,000.00                    -
      4/6/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005847 2306900104        6,000.00              -
     3/30/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006500 2306702093               -        (100,000.00)
     3/24/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006631 2307000752 50,000.00                    -
     2/24/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005522 2306301446        6,000.00              -
     2/23/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003836 2307200577               -          (6,000.00)
     2/22/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001156 2307804686        2,500.00              -
     2/22/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007428 2307803941               -          (2,500.00)
     2/10/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005742 2306802096 12,000.00                    -
     2/10/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002282 2306800838        7,000.00              -
      2/8/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004381 2308603716        8,000.00              -
      2/5/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006022 2306803982 18,000.00                    -
      2/5/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001218 2306801162 10,000.00                    -
      2/4/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006807 2306702991               -         (14,000.00)
      2/2/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003074 2307301263               -         (15,000.00)
      2/1/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001830 2307110079               -         (18,000.00)
      2/1/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000001486 2307107807               -         (30,000.00)
      2/1/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006063 2307106398 63,000.00                    -
      2/1/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005309 2307105300 86,000.00                    -
     1/28/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003773 2306400658 25,000.00                    -
     1/27/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003663 2306103114 30,000.00                    -
     1/21/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005116 2306203391               -         (30,000.00)
     1/21/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007744 2306200634        5,000.00              -
     1/21/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006943 2306201106 30,000.00                    -
     1/19/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008469 2307206202 75,000.00                    -
     1/14/2016 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004703 2307204658        5,000.00              -
      1/8/2016 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008487 2307100995               -         (23,000.00)
    12/22/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002225 2306500440        5,000.00              -
    11/24/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003587 2306703421               -        (120,000.00)
     11/4/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004096 2307402623               -        (300,000.00)
     11/2/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008359 2307609590 20,000.00                    -
    10/30/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004507 2306901814 80,000.00                    -
    10/30/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003177 2306901900 15,000.00                    -
    10/26/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001479 2307403402 100,000.00                   -
    10/22/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006844 2306402157               -         (80,000.00)
    10/21/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009080 2306203422        5,000.00              -
    10/20/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005010 2307002876 55,000.00                    -
    10/14/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009836 2306501992 28,000.00                    -
    10/13/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000004222 2307406980        2,000.00              -
     10/9/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002553 2306504444        2,000.00              -
     10/8/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002923 2306004322        5,000.00              -
     10/1/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006042 2306105344        3,500.00              -
     9/29/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000000868 2306500546 53,000.00                    -
     9/28/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009812 2307403526 50,000.00                    -
     9/23/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000006506 2307101877               -         (18,000.00)
     9/14/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005426 2306306240 45,000.00                    -
     9/11/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005587 2306302325               -         (28,179.00)
     9/10/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000001962 2306705140 28,761.00                    -
      9/8/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000003631 2307905102 72,000.00                    -
      9/4/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007852 2306402377               -         (72,000.00)
      9/1/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005008 2306602541               -          (8,000.00)
     8/27/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004210 2306401745               -         (13,000.00)
     8/25/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007150 2306701569               -         (10,000.00)
     8/11/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006309 2306200732 10,000.00                    -
      8/5/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002103 2308001901               -         (84,000.00)
     7/31/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000000310 2306803061               -         (50,000.00)
     7/23/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003907 2307302953               -         (15,000.00)
     7/23/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000007893 2307302382 112,000.00                   -
     7/22/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000007331 2306500743               -         (30,000.00)
     7/20/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008803 2309604846 50,000.00                    -
     6/30/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000003929 2308004111               -         (50,000.00)
     6/25/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000005181 2306801643               -          (3,000.00)
     6/24/2015 WIRE/OUT-2015062400002496;BNF Global Baristas US 1303500677            -        (167,500.00)
     6/24/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005068 2305801192 20,000.00                    -
     6/23/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000004337 2307502095               -         (45,000.00)



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  Date         Description                                              Inflows        Outflows
     6/12/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000002234 2306401357            -         (55,000.00)
     6/11/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002096 2306603402 175,000.00                -
      6/4/2015 ONLINE XFER TO DDA GLOBAL BARIS ID: 000008130 2306700783            -        (150,000.00)
      6/3/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000005698 2307302438 85,000.00                 -
      6/3/2015 ONLINE XFER FROM DDA GLOBAL BARIS ID: 000009553 2307304372 150,000.00                -
    12/23/2014 WIRE/OUT-2014122300005813;BNF GLOBAL BARISTAS US LLC 1303501664 -             (75,000.00)
    12/22/2014 WIRE/IN-2014122200004237;ORG GLOBAL BARISTAS US LLC 1303601258 7,500.00              -
     12/5/2014 WIRE/IN-2014120500003510;ORG GLOBAL BARISTAS US LLC 130300104515,000.00              -
     12/4/2014 WIRE/IN-2014120400003511;ORG GLOBAL BARISTAS US LLC 130330095813,000.00              -
     12/3/2014 WIRE/IN-2014120300002434;ORG GLOBAL BARISTAS US LLC 130340069465,000.00              -
     12/1/2014 WIRE/IN-2014120100004099;ORG GLOBAL BARISTAS US LLC 130360120650,000.00              -
    11/25/2014 WIRE/OUT-2014112500003786;BNF GLOBAL BARISTAS US LLC 1303701026 -             (25,000.00)
    11/21/2014 WIRE/OUT-2014112100005323;BNF GLOBAL BARISTAS US LLC 1303501708 -             (20,000.00)
    11/19/2014 WIRE/IN-2014111900003113;ORG GLOBAL BARISTAS US LLC 130360079613,000.00              -
    11/18/2014 WIRE/IN-2014111800002423;ORG GLOBAL BARISTAS US LLC 130300067220,000.00              -
    11/12/2014 WIRE/OUT-2014111200006188;BNF GLOBAL BARISTAS US, LLC 1302501915 -            (40,000.00)
     11/6/2014 WIRE/OUT-2014110600003689;BNF GLOBAL BARISTAS US LLC 1303001004 -            (100,000.00)
    10/16/2014 WIRE/IN-2014101600003757;ORG GLOBAL BARISTAS US LLC 1303201071 9,000.00              -
    10/15/2014 WIRE/IN-2014101500004759;ORG GLOBAL BARISTAS US LLC 130320246217,000.00              -
    10/14/2014 WIRE/IN-2014101400005406;ORG GLOBAL BARISTAS US LLC 130400165571,000.00              -
     10/7/2014 WIRE/IN-2014100700003028;ORG GLOBAL BARISTAS US LLC 130340089010,000.00              -
     9/29/2014 WIRE/OUT-2014092900003339;BNF GLOBAL BARISTAS US LLC 1303500890 -              (8,000.00)
     8/21/2014 WIRE/OUT-2014082100003044;BNF GLOBAL BARISTAS US LLC 1303100848 -             (46,000.00)
     8/19/2014 WIRE/OUT-2014081900002394;BNF GLOBAL BARISTAS US LLC 1301800595 -             (30,000.00)
     8/15/2014 WIRE/OUT-2014081500004193;BNF GLOBAL BARISTAS US LLC 1302002401 -             (15,000.00)
      8/1/2014 WIRE/OUT-2014080100004974;BNF GLOBAL BARISTAS US LLC 1301701368 -             (40,000.00)
     7/30/2014 WIRE/IN-2014073000007427;ORG GLOBAL BARISTAS US LLC 1302001962
                                                                            959,571.80              -
     6/10/2014 WIRE/OUT-2014061000003738;BNF GLOBAL BARISTAS US LLC 1301801060 -         (3,115,230.10)
     5/27/2014 WIRE/OUT-2014052700007230;BNF GLOBAL BARISTAS US LLC 1301902216 -            (400,000.00)
     5/23/2014 WIRE/OUT-2014052300004176;BNF GLOBAL BARISTAS US LLC 1302001189 -            (100,000.00)
     5/22/2014 WIRE/IN-2014052200003006;ORG GLOBAL BARISTAS US LLC 130180083810,000.00              -
     5/20/2014 WIRE/OUT-2014052000002922;BNF GLOBAL BARISTAS US LLC 1302400864 -             (40,000.00)
     5/19/2014 WIRE/IN-2014051900003071;ORG GLOBAL BARISTAS US LLC 130230096035,000.00              -
     4/29/2014 WIRE/OUT-2014042900003642;BNF GLOBAL BARISTAS US LLC 1301900956 -             (50,000.00)
     4/28/2014 WIRE/OUT-2014042800003378;BNF GLOBAL BARISTAS US LLC 1302301012 -             (15,000.00)
     4/11/2014 WIRE/OUT-2014041100003745;BNF GLOBAL BARISTAS US LLC 1301801104 -            (250,000.00)
      4/7/2014 WIRE/IN-2014040700003362;ORG GLOBAL BARISTAS US LLC 130180096585,000.00              -
     3/31/2014 WIRE/OUT-2014033100008738;BNF GLOBAL BARISTAS US LLC 1302002245 -             (10,000.00)
     3/28/2014 WIRE/OUT-2014032800004188;BNF GLOBAL BARISTAS US LLC 1301901116 -            (400,000.00)
     3/27/2014 WIRE/IN-2014032700004730;ORG GLOBAL BARISTAS US LLC 130200133110,000.00              -
     3/20/2014 WIRE/OUT-2014032000004008;BNF GLOBAL BARISTAS US LLC 1302001191 -             (50,000.00)
     3/14/2014 WIRE/OUT-2014031400007529;BNF GLOBAL BARISTAS US LLC 1301802300 -            (100,000.00)
     3/14/2014 WIRE/IN-2014031400005097;ORG GLOBAL BARISTAS US LLC 130180156320,000.00              -
     3/13/2014 WIRE/IN-2014031300004137;ORG GLOBAL BARISTAS US LLC 130200120540,000.00              -
     2/26/2014 WIRE/IN-2014022600002967;ORG GLOBAL BARISTAS US LLC 130230088190,000.00              -
     2/24/2014 WIRE/IN-2014022400005133;ORG GLOBAL BARISTAS US LLC 130190157020,000.00              -
     2/20/2014 WIRE/IN-2014022000003352;ORG GLOBAL BARISTAS US LLC 130170098220,000.00              -
     2/19/2014 WIRE/IN-2014021900002782;ORG GLOBAL BARISTAS US LLC 130180077070,000.00              -
     2/14/2014 WIRE/IN-2014021400004499;ORG GLOBAL BARISTAS US LLC 130190250250,000.00              -
     2/13/2014 WIRE/IN-2014021300003472;ORG GLOBAL BARISTAS US LLC 130170094930,000.00              -
      2/4/2014 WIRE/IN-2014020400002358;ORG GLOBAL BARISTAS US LLC 130180067450,000.00              -
     1/31/2014 WIRE/IN-2014013100005847;ORG GLOBAL BARISTAS US LLC 130190140430,000.00              -
     1/30/2014 WIRE/IN-2014013000004615;ORG GLOBAL BARISTAS US LLC 130210137515,000.00              -
     1/28/2014 WIRE/IN-2014012800005010;ORG GLOBAL BARISTAS US LLC 130200159030,000.00              -
     1/23/2014 WIRE/IN-2014012300004861;ORG GLOBAL BARISTAS US LLC 130210161625,000.00              -
     1/16/2014 WIRE/OUT-2014011600002842;BNF GLOBAL BARISTAS US LLC 1301900812 -             (60,000.00)
    12/20/2013 WIRE/OUT-2013122000005339;BNF GLOBAL BARISTAS US, LLC 1302401546 -            (50,000.00)
    12/13/2013 WIRE/OUT-2013121300006987;BNF GLOBAL BARISTAS US LLC 1301803164 -            (400,000.00)
    12/11/2013 WIRE/OUT-2013121100002990;BNF GLOBAL BARISTAS US LLC 1301900918 -            (100,000.00)
    11/21/2013 WIRE/IN-2013112100004081;ORG GLOBAL BARISTAS US LLC 130180124720,000.00              -
    11/20/2013 WIRE/IN-2013112000002119;ORG GLOBAL BARISTAS US LLC 130230072825,000.00              -
    11/19/2013 WIRE/IN-2013111900002000;ORG GLOBAL BARISTAS US LLC 130190063910,000.00              -
    11/14/2013 WIRE/IN-2013111400005824;ORG GLOBAL BARISTAS US LLC 130210179510,000.00              -
    11/13/2013 WIRE/IN-2013111300001400;ORG GLOBAL BARISTAS US LLC 130270051422,000.00              -
    11/12/2013 WIRE/IN-2013111200005879;ORG GLOBAL BARISTAS US LLC 130180193220,000.00              -
     11/8/2013 WIRE/IN-2013110800003720;ORG GLOBAL BARISTAS US LLC 130350113610,000.00              -
     11/7/2013 WIRE/OUT-2013110700003941;BNF GLOBAL BARISTAS US LLC 1302301082 -             (72,500.00)



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  Date         Description                                             Inflows        Outflows
     11/7/2013 WIRE/OUT-2013110700003860;BNF GLOBAL BARISTAS US LLC 1302301058 -            (33,000.00)
     11/4/2013 WIRE/IN-2013110400003339;ORG GLOBAL BARISTAS US LLC 1302100946
                                                                           100,000.00              -
    10/24/2013 WIRE/OUT-2013102400002882;BNF GLOBAL BARISTAS US LLC 1302100835 -           (415,000.00)
    10/23/2013 WIRE/IN-2013102300002815;ORG GLOBAL BARISTAS US LLC 1301800854
                                                                           415,000.00              -
    10/10/2013 WIRE/IN-2013101000002701;ORG GLOBAL BARISTAS US LLC 1301900882
                                                                            35,000.00              -
     10/2/2013 WIRE/IN-2013100200002190;ORG GLOBAL BARISTAS US LLC 1301900634
                                                                            10,000.00              -
     10/1/2013 WIRE/IN-2013100100007193;ORG GLOBAL BARISTAS US LLC 1301802084
                                                                           150,000.00              -
     9/20/2013 WIRE/IN-2013092000003001;ORG GLOBAL BARISTAS US LLC 13019009409,000.00              -
     9/18/2013 WIRE/IN-2013091800003241;ORG GLOBAL BARISTAS US LLC 1302300998
                                                                            55,000.00              -
     9/17/2013 WIRE/IN-2013091700002753;ORG GLOBAL BARISTAS US LLC 1301600816
                                                                            35,000.00              -
     9/12/2013 WIRE/IN-2013091200003787;ORG GLOBAL BARISTAS US LLC 1301701122
                                                                            45,000.00              -
      9/4/2013 WIRE/IN-2013090400003829;ORG GLOBAL BARISTAS US LLC 1301601198
                                                                            62,000.00              -
     8/27/2013 WIRE/IN-2013082700003476;ORG GLOBAL BARISTAS US LLC 1301801160
                                                                            60,000.00              -
     8/21/2013 WIRE/IN-2013082100002448;ORG GLOBAL BARISTAS US LLC 1302000770
                                                                           100,000.00              -
      8/7/2013 WIRE/IN-2013080700003811;ORG GLOBAL BARISTAS US LLC 1301701044
                                                                           100,000.00              -
      8/6/2013 WIRE/IN-2013080600002916;ORG GLOBAL BARISTAS US LLC 1302400903
                                                                            30,000.00              -
     7/26/2013 WIRE/IN-2013072600006704;ORG GLOBAL BARISTAS US LLC 1302401846
                                                                           125,000.00              -
     7/19/2013 WIRE/IN-2013071900006824;ORG GLOBAL BARISTAS US LLC 1302202064
                                                                            39,000.00              -
      2/1/2013 DEPOSIT                                                     400,000.00              -

                                                                           8,124,217.80   (10,608,939.16)




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Date      Amount          Transaction Kind   Check #   Description
1/20/2017    (138,800.00) Wire                         WIRE/OUT-2017012000005324;BNF Honda Aircraft Company LLC;OBI 1304501615
 6/2/2014    (525,000.00) Wire                         WIRE/OUT-2014060200003678;BNF HONDA AIRCRAFT COMPANY LLC 1301800997




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Date         Amount      Transaction Kind   Check #    Description
    7/1/2014 (16,000.00) Wire                          WIRE/OUT-2014070100007627;BNF HPPW, LLC 1301602114
   4/15/2014 (8,000.00) Wire                           WIRE/OUT-2014041500003808;BNF HPPW LLC 1301902256
    2/7/2014 (16,000.00) Wire                          WIRE/OUT-2014020700005004;BNF HPPW LLC 1301801551
  12/17/2013 (8,000.00) Wire                           WIRE/OUT-2013121700004189;BNF HPPW LLC 1302001332




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Date      Amount      Transaction Kind   Check #   Description
4/22/2016 (27,000.00) Wire                         WIRE/OUT-2016042200006707;BNF John Dagys Media LLC;REF Avena 1304001861




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Date        Amount       Transaction Kind   Check #   Description
  9/19/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018261003071220 1107220394
  9/12/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018254008923045 1108420358
  8/24/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018235007380718 1108620689
   8/3/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018214004691277 1107336240
  7/17/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018197003719224 1106717350
   7/5/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018186006668218 1107830214
  6/21/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018171008068495 1107014569
  6/14/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018164004015168 1107214722
  5/17/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018136007240616 1107614987
   5/9/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018128002151962 1107821319
  4/17/2018   (3,149.15) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018106007951100 1107618117
   4/2/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018092007860958 1107732083
  3/20/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018078010624338 1108119030
   3/6/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018064002464835 1107717696
  2/20/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018051002024000 1108529689
   2/2/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018032002460377 1108034747
  1/17/2018   (1,807.54) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018016002274899 1108524281
   1/4/2018     (893.44) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 018003004773289 1108117020
 12/19/2017   (1,047.79) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017352005118348 1106917817
  12/1/2017   (1,160.39) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017335003381160 1107965257
 11/17/2017   (1,047.79) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017320004840796 1107721206
  11/1/2017   (1,047.79) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017305003338301 1108949644
 10/16/2017   (1,047.79) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017289002641776 1107626685
  10/4/2017   (1,693.68) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017276005305590 1107616561
  9/20/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017262005674972 1107622133
   9/5/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017248005497746 1108872022
  8/17/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017229004628905 1107728008
   8/2/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017213004074350 1107819751
  7/18/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017198004205505 1106418100
   7/5/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017186005970101 1107457175
  6/20/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017170005679749 1106819539
   6/6/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017156007090689 1107719745
  5/17/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017136004108186 1106323088
   5/2/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017121003454425 1106923081
  4/18/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017107004465983 1106518749
  4/11/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017100010305072 1106818554
  3/17/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017075004326729 1106621874
  3/10/2017     (748.58) Wire                         WIRE/OUT-2017031000006161;BNF John Hancock USA;OBI Eagan Ave 1304001818
   3/6/2017   (2,207.49) ACH Transfer                 JOHN HANCOCK ACH DEBIT 0077281 REF # 017065006512501 1106932687




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 2/21/2017    (2,713.78) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 017052007097733 1107656190
  2/2/2017    (2,713.78) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 017032005942450 1107018811
 1/18/2017    (2,713.78) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 017018006491542 1106240919
  1/4/2017    (1,692.95) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 017004008010232 1106739221
12/19/2016    (1,692.95) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016354008010618 1107326544
 12/2/2016    (1,692.95) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016337008228450 1106751037
11/17/2016    (1,692.95) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016322009197206 1107127219
 11/2/2016    (1,692.95) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016307009651613 1107633188
10/18/2016    (1,692.95) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016291010275483 1107418286
 10/3/2016    (2,338.84) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016277000256293 1106947284
 9/16/2016    (2,713.78) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016260001680925 1106532639
  9/2/2016    (2,713.78) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016246003615856 1106651293
 8/16/2016    (2,713.78) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016229003320466 1106629708
  8/1/2016    (1,895.78) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016214003834515 1106468513
 7/18/2016    (1,895.78) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016200005810122 1106926969
  7/1/2016    (1,895.78) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016183006572826 1106863889
 6/16/2016    (2,447.86) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016168008294366 1106127718
  6/1/2016    (2,947.86) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016153008782840 1106652773
 5/17/2016    (4,947.86) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016138001013718 1106930848
  5/3/2016    (4,962.20) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016124002926243 1106649444
  4/5/2016    (4,998.03) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016096006935483 1108443241
 3/18/2016    (4,964.59) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016078007141196 1106132274
  3/3/2016    (5,705.70) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016063008498811 1106943142
 2/18/2016    (5,677.03) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016049000073183 1105625599
  2/4/2016    (3,224.81) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016035002654640 1105729052
 1/20/2016    (3,179.42) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016020003502218 1107045833
  1/5/2016    (2,037.23) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 016005005468951 1105447306
12/16/2015    (2,173.11) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015350004941673 1105632553
 12/2/2015    (2,173.11) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015336006903815 1105637487
11/19/2015    (2,191.36) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015323000177473 1106824894
 11/6/2015   (18,000.00) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015310003750282 1105933129
 11/2/2015    (2,760.44) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015306009743744 1106035504
10/19/2015    (3,077.61) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015292002524213 1105923321
 10/1/2015    (3,085.72) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015274003323807 1105849495
 9/16/2015    (3,093.84) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015259005494189 1105732060
  9/4/2015    (3,081.67) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015247009874600 1105635812
 8/19/2015    (3,079.64) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015231000695286 1106229813
  8/3/2015    (3,079.64) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015215001521280 1107348179
 7/16/2015    (3,097.89) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015197003439889 1106928254
  7/1/2015    (3,112.09) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015182005235754 1108350052




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 6/29/2015   (3,132.37) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015180003515153 1106841260
  6/1/2015   (3,099.92) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015152009113033 1105944829
 5/18/2015   (3,099.92) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015138002595178 1105224684
  5/1/2015   (3,156.71) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015121004446207 1105769540
 4/16/2015   (3,116.15) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015106006862590 1105325466
  4/2/2015   (3,120.20) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015092009636565 1106131938
  1/5/2015   (2,166.47) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 015005005242277 1106057093
12/17/2014   (3,074.21) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014351006709885 1106929961
 12/8/2014   (3,045.36) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014342001927072 1105121663
11/18/2014   (3,365.19) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014322002207512 1104627538
 11/3/2014   (3,392.14) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014307004127912 1107142900
10/16/2014   (3,101.69) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014289006635760 1105023948
 10/1/2014   (3,110.70) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014274008689906 1105947272
 9/16/2014   (3,116.11) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014259001842916 1104527677
  9/2/2014   (3,119.72) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014245003927430 1105431250
 8/18/2014   (3,063.99) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014230007567752 1104119369
  8/1/2014   (3,060.74) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014213010010721 1103763940
 7/14/2014   (3,039.65) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014195001026060 1104323528
  7/1/2014   (3,046.14) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014182004763173 1102850524
 6/16/2014     (354.24) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014167007718247 1106325241
 6/16/2014   (2,721.09) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014167007718239 1106325233
  6/2/2014   (2,735.91) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014153000548959 1105332176
 5/16/2014   (2,734.56) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014136003864720 1104632916
  5/1/2014   (2,719.75) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014121006252269 1104049327
 4/16/2014   (2,722.44) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014106009250261 1104032718
  4/1/2014   (2,733.21) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014091001498361 1107153821
 3/17/2014   (2,735.91) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014076004448266 1105725901
  3/3/2014   (2,904.23) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014062007281004 1108948313
 2/18/2014   (2,783.04) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014049000921595 1104827429
  2/3/2014   (2,947.18) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014034003841767 1108547176
 1/16/2014   (2,575.81) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014016006786964 1104326781
  1/2/2014   (2,706.20) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 014002009591745 1105039772
12/16/2013   (2,587.93) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 013350002101918 1104526118
 12/2/2013   (2,565.03) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 013336005048833 1103831677
11/18/2013   (2,608.13) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 013322009088256 1105522564
 11/1/2013   (2,601.39) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 013305001941669 1103769475
10/16/2013   (2,575.81) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 013289004746894 1104941959
 10/2/2013   (2,563.69) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 013275008291431 1104433234
 9/16/2013   (2,559.65) ACH Transfer          JOHN HANCOCK ACH DEBIT 0077281 REF # 013259000763211 1106425504
  9/4/2013   (2,560.99) ACH Transfer          PAY JOHN HANCOCK ACH DEBIT 0 1701104148




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   8/19/2013     (2,562.34) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1701201961
    8/2/2013     (2,565.03) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1701502514
   7/17/2013     (2,574.46) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1701102869
    7/3/2013     (2,622.94) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1701102677
   6/19/2013     (2,575.81) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1701302609
    6/4/2013     (2,566.38) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700100281
   5/17/2013     (2,542.14) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700100240
    5/3/2013     (4,590.56) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700100233
   4/17/2013     (4,772.02) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700100501
    4/3/2013     (4,971.15) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700200228
   3/19/2013     (4,807.03) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700100380
    3/4/2013     (4,773.36) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700100058
   2/20/2013     (4,826.78) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700100677
    2/4/2013     (4,794.91) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700100035
   1/17/2013     (4,897.25) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700100046
    1/3/2013     (2,081.11) ACH Transfer           PAY JOHN HANCOCK ACH DEBIT 0 1700100826

Total:         (374,174.01)




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Date      Amount      Transaction Kind   Check #   Description
 6/1/2015 (3,647.33) Wire                          WIRE/OUT-2015060100007746;BNF Julie Cline Fine Art Services; 1304002150
 4/6/2015 (36,230.00) Wire                         WIRE/OUT-2015040600002200;BNF Julie Cline Fine Art Services; 1304100620
2/25/2015 (4,653.47) Wire                          WIRE/OUT-2015022500002156;BNF Julie Cline Fine Art Services; 1304300626
1/30/2015 (21,882.84) Wire                         WIRE/OUT-2015013000002648;BNF Julie Cline Fine Art Services; 1303900822




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  Date       Amount            Transaction Kind    Check #   Description
   3/31/2015    (1,250,000.00) Check               15123     15123 | Michael O. Eagan
    5/6/2015        (1,841.97) Check               15172     15172* | Michael O. Eagan
    6/3/2015        (1,716.35) Check               15099     15099 | Michael O. Eagan
  10/29/2015        (4,061.02) Check               15321     15321 | Michael Q.Eagan




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Date      Amount      Transaction Kind   Check #   Description
4/15/2014 (14,880.00) Wire                         WIRE/OUT-2014041500003786;BNF MK TECHNOLOGIES 1301902248
1/15/2014 (5,764.85) Wire                          WIRE/OUT-2014011500006672;BNF MK TECHNOLOGIES 1301902048




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Date      Amount      Transaction Kind   Check #   Description
1/20/2017 (20,000.00) Wire                         WIRE/OUT-2017012000004215;BNF MTE, INC dba Aero & Marine Tax 1304501337




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Date      Amount      Transaction Kind    Check #   Description
3/14/2014 (20,000.00) Possible Transfer             WIRE/OUT-2014031400006466;BNF PATRICK HUISMAN 1301801959




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Date        Amount      Transaction Kind   Check #   Description
6/28/2018   (25,828.00) Wire                         WIRE/OUT-2018062800003557;BNF PROTECH SECURITY 1305200846
6/18/2018   (22,875.00) Wire                         WIRE/OUT-2018061800005748;BNF Protech Security 1304301635
 5/1/2018   (15,025.00) Wire                         WIRE/OUT-2018050100004341;BNF PROTECH SECURITY 1304001162
4/16/2018   (12,600.00) Wire                         WIRE/OUT-2018041600004997;BNF PROTECH SECURITY 1304801410




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Date      Amount      Transaction Kind   Check #   Description
 8/5/2014   4,982.05 Wire                          WIRE/IN-2014080500000810;ORG SHOWTRAX INTERNATIONAL LIMITED; 1301800364
4/15/2014 (24,470.92) Wire                         WIRE/OUT-2014041500007453;BNF SHOWTRAX INTERNATIONAL;OBI ACC 1301903464

Net:      (19,488.87)




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Date      Amount      Transaction Kind    Check #   Description
 4/2/2018 (9,000.00) Wire                           WIRE/OUT-2018040200003572;BNF Silver Star Sound & Comm, Inc. 1304300940
4/22/2016 (40,000.00) Possible Transfer             WIRE/OUT-2016042200006703;BNF Silverstar Sound and Communica 1304001855




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Date      Amount        Transaction Kind   Check #   Description
6/13/2014  (700,000.00) Wire                         WIRE/OUT-2014061300004062;BNF SIMEON OSBORN 1302002448
3/28/2014  (160,000.00) Wire                         WIRE/OUT-2014032800004446;BNF SIMEON OSBORN 1301901172
3/26/2014  (140,000.00) Wire                         WIRE/OUT-2014032600006082;BNF SIMEON OSBORN 1302101699




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3/28/2013   (107,000.00) Wire                         WIRE/OUT-2013032800005117;BNF TRACKSIDE PERFORMANCE LLC 1300301298




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Date        Amount      Transaction Kind    Check #   Description
4/22/2016   (20,000.00) Possible Transfer             WIRE/OUT-2016042200006705;BNF Vincent Builders Inc.;REF Aven 1304001857
2/12/2016   (75,000.00) Wire                          WIRE/OUT-2016021200002240;BNF Vincent Builders Inc;REF Avena 1303800694
1/21/2016   (50,000.00) Wire                          WIRE/OUT-2016012100005004;BNF Vincent Builders Inc.;REF Invo 1303801388




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EA to Lisa Storie/Michael Avenatti


Date                 Amount         Check #        Description                                      Name
          12/09/13     -$110,000.00                WIRE/OUT-2013120900002988;BNF LISA STORIE 1301900986
          12/27/13      -$12,500.00                WIRE/OUT-2013122700005014;BNF LISA STORIE 1302401432
          01/08/14     -$190,000.00                WIRE/OUT-2014010800002899;BNF LISA STORIE 1301700818
          01/23/14      -$20,000.00                WIRE/OUT-2014012300004933;BNF LISA STORIE 1302101624
          02/04/14     -$155,000.00                WIRE/OUT-2014020400004054;BNF LISA STORIE 1301801213
          02/18/14      -$15,000.00                WIRE/OUT-2014021800004492;BNF LISA STORIE 1301901386
          03/06/14      -$81,000.00                WIRE/OUT-2014030600005615;BNF LISA STORIE 1301601582
          05/13/14      -$50,000.00                WIRE/OUT-2014051300003487;BNF LISA STORIE-AVENATTI MICHAEL J 1302001015
          05/02/16      -$40,000.00                WIRE/OUT-2016050200007144;BNF Michael and Lisa Avenatti 1304002026
          05/03/16      -$50,000.00                WIRE/OUT-2016050300005904;BNF Michael & Lisa Avenatti 1304101670




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i.      Artist: Frank Stella. Relief Print known as IMOLA Three I, Circuit Series, dated 1982,

annotated “PP 2” (printer’s proof), approx. 65 7/8 x 51 ¼ inches, framed.

        Market Value: $14,375.00



ii.     Artist: Frank Stella. Relief Print known as IMOLA Three II, Circuit Series, dated 1984,

edition 16 of 30, approx. 65 1/2 x 51 1/2 inches, framed.

        Market Value: $20,000.00



iii.    Artist: Frank Stella. Relief Print known as IMOLA Five II, Circuit Series, dated 1983,

edition 16 of 30, approx. 66 x48 inches, framed.

        Market Value: $40,000



iv.    Artist: Frank Stella. Relief Print known as Talladega Three III, Circuit Series, dated 1982,

edition 12 of 30, approx. 78 x 66 inches, framed.

        Market Value: $25,000




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Date              Amount         Transaction Kind     Description                                          Tags               Bank Name   Account Number Account Name   Account Entity
       05/23/14      -$88,867.50                 Wire WIRE/OUT-2014052300003928;BNF JULIE CLINE FINE ART SERVICES/ 130200111CBT           3648940661     A&A CBT 0661   A&A Checking
       01/30/15      -$21,882.84                 Wire WIRE/OUT-2015013000002648;BNF Julie Cline Fine Art Services; 1303900822 CBT         5791082851     EA CBT 2851    Eagan Avenatti Checking
       02/25/15       -$4,653.47                 Wire WIRE/OUT-2015022500002156;BNF Julie Cline Fine Art Services; 1304300626 CBT         5791082851     EA CBT 2851    Eagan Avenatti Checking
       04/06/15      -$36,230.00                 Wire WIRE/OUT-2015040600002200;BNF Julie Cline Fine Art Services; 1304100620 CBT         5791082851     EA CBT 2851    Eagan Avenatti Checking
       06/01/15       -$3,647.33                 Wire WIRE/OUT-2015060100007746;BNF Julie Cline Fine Art Services; 1304002150 CBT         3260132699     EA CBT 2699    Eagan Avenatti Checking
       10/02/15      -$23,585.25                 Wire WIRE/OUT-2015100200005842;BNF Julie Cline Fine Art Services; 1303701688 CBT         3648940661     A&A CBT 0661   A&A Checking
       02/05/16      -$21,047.00                 Wire WIRE/OUT-2016020500006822;BNF Julie Cline Fine Art Services; 1303701806 CBT         3648940661     A&A CBT 0661   A&A Checking




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                                Julie Cline Fine Art Services
                             Art Advisory - Acquisitions - Sales
                                    272 Hot Springs Road
                                 Santa Barbara, CA 93108
                          Tel: 805-695-8829 Fax: 805-259-4579

 Date:   June 24, 2014
 Sold to: Mr. and Mrs. Michael Avenatti
         224 Via Lido Nord
         Newport Beach, CA 92663




                  INVOICE #10124
                                                                       7
                                DESCRIPTION                                AMOUNT
 DUE UPON RECEIPT


    Frank Stella "Imola Three II (Circuits Series), 1984
       Retail: $20,000 (Less 25%) Out of State No CA Sales Tax             $   15,000.00
    Frank Gehry "Memory of Sophie Calle's Flower," 2012 Ed: 8/28
      Retail: $25,000 (Less 25%) *                                         $   18,750.00
    Frank Stella "Imola Three I," (Circuits Series) *
      Retail: $14,375 (Less 20%) *                                         $   11,500.00

    Art Advisory Fees: 20% on $45,250                                      $    9,050.00
    Wiring Instructions:
      Account Name: Julie Cline Fine Art Services
      Bank:           Wells Fargo Bank
                     1482 East Valley Road,
                     Montecito, CA 93108
                     ABA #121000248 for wires
                      Business Acct #3854580093

                                                                Sub-total $    54,300.00
                                           *8% CA Sales Tax on $30,250:   $     2,420.00

                                                                   Total: $    56,720.00


                                 Thank you!




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                                 Julie Cline Fine Art Services
                              Art Advisory - Acquisitions - Sales
                                     272 Hot Springs Road
                                  Santa Barbara, CA 93108
                           Tel: 805-695-8829 Fax: 805-259-4579

 Date: March 20, 2015
 Sold to: Michael Avenatti, Esq.
         117 Via Quito
         Newport Beach, CA 92663




                  INVOICE #10158
                                                                        7
                                   DESCRIPTION                              AMOUNT
 DUE UPON RECEIPT

    Frank Stella "Imola Five II" 1983 Retail: $40,000 (Less 20%) NET        $   32,000.00
    Art Advisory Fee: 10% on $32,000                                        $    3,200.00

  Packing and Shipping to Art Services Melrose Los Angeles                  $    1,030.00




    Wiring Instructions:
    Account: Julie Cline Fine Art Services Acct #3854580093
    Wells Fargo Bank ABA# 121000248
    1482 E. Valley Road
    Montecito, CA 93108


                                                                 Sub-total $    36,230.00
                                                              Sales Tax:             N/A

                                                                    Total: $    36,230.00


                                   Thank you!




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                            Frank Stella "Imola Five II, 1983
              Relief, Woodcut on White TGL Handmade, Hand-colored Paper
                                     Editon of 30,
                                  67" High x 50" Wide
                           #14 UPPER STAIRWAY LANDING



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                 Frank Stella"Imola Three II," (from Circuits Series, 1984
                                      color woodcut
                                     65 1/2" x 51 1/2"
                                         ed. of 30
                                      #1 GARAGE



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                 Frank Stella"Imola Three I," (From the Circuits Series)
                  Relief, Engraving on White TGL Hand Made Paper
                                 65 1/2" H x 51 1/4" W
                      PP2, aside from the numbered edition of 30




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                                                                                                                                     Statement of Accounts
                                                                                                                                     Page 1 of 6
                                                                                                                                     This Statement: January 30, 2015
                                                                                                                                     Last Statement: January 8, 2015

                                                                                                                                     Account 5791082851



                                                                                                                                     DIRECT INQUIRIES TO:
                                                                                                                                     Customer Service 1 (800) 400-6080
 0048324                                  4031-06-0000-CBT-PG0023-00017


 EAGAN AVENATTI LLP
 450 NEWPORT CENTER DR FL 2
 NEWPORT BEACH CA 92660-7610




                                                                                                                                     Irvine Branch
                                                                                                                                     1900 Main St. Suite 100
                                                                                                                                     Irvine, CA 92614-0000
                                                                                                                                     (949) 223-7500




  SUMMARY OF ACCOUNT BALANCE
                                                                                                               Checking/Savings                            Outstanding
  Account Type                                                      Account Number                               Ending Balance                         Balances Owed
  Business Essentials Checking                                      5791082851                                      $844,313.73



  BUSINESS ESSENTIALS CHECKING 5791082851                                                                                                                                         104    17



  Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
  0.00                                                    1,777,290.02                          680,115.96                           252,860.33                             844,313.73

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 15 DEPOSITS/CREDITS
 Date                      Amount                 Description
 01/13                        5.00                ONLINE XFER FROM DDA ***2699 ID: 000003191 2306403744
 01/14                   50,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000000056 2306201790
 01/15                   16,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000003372 2306102106
 01/15                   14,552.20                DEPOSIT 5353049353
 01/16                    1,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000009402 2306603690
 01/20                   14,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000004409 2306510002
 01/21                    1,408.79                PAY SEQ # 001106147567 Serial Number = 0001502000 1702504078
 01/21                    1,600.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000006265 2306402140
 01/23                    7,500.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000007055 2306404168
 01/26                    1,000.00                ONLINE XFER FROM DDA AVENATTI & A ID: 000004515 2306603930
 01/28                   39,000.00                EXCEPTIONS RTN LM REF # 015028006707676 1105800075
 01/29                   26,446.05                PAY SEQ # 001105817288 Serial Number = 0001502700 1702901622
 01/29                    4,707.98                DEPOSIT 5353016277
 01/29                       70.00                fee refund ID: 000000001 2306303366
 01/30                1,600,000.00                ONLINE XFER FROM DDA STATE BAR OF ID: 000004069 2306400918

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 16 CHARGES/DEBITS
 Date                      Amount                 Description
 01/15                   10,000.00                PAY SEQ # 001105732212 1702501685
 01/15                   70,456.56                PAY SEQ # 001105730551 1702502002
 01/20                    1,000.00                CREDIT CARD ECS PAYMENT 043000091529294REF # 015020002206682 1106152697
 01/20                    1,000.00                CREDIT CARD ECS PAYMENT 043000091575852REF # 015020002282605 1106153247
 01/20                    4,000.00                CREDIT CARD ECS PAYMENT 043000091529224REF # 015020002281497 1106153241
 01/20                    4,000.00                CREDIT CARD ECS PAYMENT 043000091575872REF # 015020002282606 1106153248
 01/23                    7,500.00                PAY SEQ # 001105425105 1702702303
 01/26                       70.00                INSUFFICIENT FUNDS FEE-ITEM PD 1702601336
 01/27                    1,000.00                PAY SEQ # 001106120098 1702803095
 01/28                       70.00                INSUFFICIENT FUNDS FEE-ITEM PD 1702201798
 01/29                       35.00                INSUFFICIENT FUNDS FEE-ITEM PD 1702901342
 01/30                   21,882.84                WIRE/OUT-2015013000002648;BNF Julie Cline Fine Art Services; 1303900822
 01/30                   40,000.00                WIRE/OUT-2015013000002647;BNF Edward G. Ashton;REF Ashton 1303900820
 01/30                  200,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000004601 2306400935
 01/30                  250,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000002310 2306404535
 01/30                   69,101.56                PAYCHEX-RCX PAYROLL 59094600001804XREF # 015029007725747 1105935404



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                                                                                                                    5791082851




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15 CHECKS PROCESSED
Number..............Date............................Amount       Number..............Date............................Amount       Number..............Date............................Amount
9966             01/27                       39,000.00          15001*               01/16                           120.66       15006               01/21                        70.00
10013*           01/21                          832.00          15002                01/23                           506.79       15008*              01/30                     2,499.99
10030*           01/21                          325.00          15003                01/28                         5,203.39       15010*              01/30                   171,000.00
10042*           01/20                        4,925.00          15004                01/23                            70.00       15015*              01/30                    25,000.00
10044*           01/21                        1,787.50          15005                01/30                            90.00       15017*              01/30                     1,430.00
* Not in check sequence
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AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                   Total for This Period                       Total Year-to-Date
Total Overdraft Fees                                            $175.00                                  $175.00
Total Returned Item Fees                                           $0.00                                    $0.00

To learn more about our other products and services that may lower the cost of managing account
overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
Service or visit your local branch.

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DAILY BALANCES
Date..........................Balance                                      Date..........................Balance                                       Date..........................Balance
01/13                          5.00                                        01/20                        54.98                                          01/27                  -39,597.52
01/14                   50,005.00                                          01/21                        49.27                                          01/28                    -5,870.91
01/15                       100.64                                         01/23                      -527.52                                          01/29                   25,318.12
01/16                       979.98                                         01/26                       402.48                                          01/30                 844,313.73




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Ref# 53049353   $14552.20                    Ref# 53016277   $4707.98




Ref# 53130871   $39000.00     Ch# 9966       Ref# 53011587   $832.00    Ch# 10013




Ref# 53006612    $325.00      Ch# 10030      Ref# 53005447   $4925.00   Ch# 10042




Ref# 53027091   $1787.50      Ch# 10044      Ref# 53070134   $120.66    Ch# 15001




Ref# 53099226    $506.79      Ch# 15002      Ref# 53073815   $5203.39   Ch# 15003




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Ref# 53001517       $70.00     Ch# 15004      Ref# 53101917      $90.00   Ch# 15005




Ref# 53073670       $70.00     Ch# 15006      Ref# 53099193    $2499.99   Ch# 15008




Ref# 53097929   $171000.00     Ch# 15010      Ref# 53117304   $25000.00   Ch# 15015




Ref# 53111580     $1430.00     Ch# 15017




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                                                                                                                                     Account 5791082851



                                                                                                                                     DIRECT INQUIRIES TO:
                                                                                                                                     Customer Service 1 (800) 400-6080
 0047703                                  4059-06-0000-CBT-PG0023-00075


 EAGAN AVENATTI LLP
 520 NEWPORT CENTER DR STE 1400
 NEWPORT BEACH CA 92660-7010




                                                                                                                                     Irvine Branch
                                                                                                                                     1900 Main St. Suite 100
                                                                                                                                     Irvine, CA 92614-0000
                                                                                                                                     (949) 223-7500




  SUMMARY OF ACCOUNT BALANCE
                                                                                                               Checking/Savings                            Outstanding
  Account Type                                                      Account Number                               Ending Balance                         Balances Owed
  Business Essentials Checking                                      5791082851                                        $48,124.54



  BUSINESS ESSENTIALS CHECKING 5791082851                                                                                                                                         104    75



  Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
  844,313.73                                               800,240.93                          1,122,578.39                          473,851.73                              48,124.54

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 6 DEPOSITS/CREDITS
 Date                      Amount                 Description
 02/04                    2,776.43                ONLINE XFER FROM DDA STATE BAR OF ID: 000006454 2306404232
 02/04                  736,883.89                ONLINE XFER FROM DDA STATE BAR OF ID: 000000784 2306404168
 02/05                   15,637.00                DEPOSIT 5353037380
 02/18                    2,322.31                DEPOSIT 5353036275
 02/20                   20,000.00                DEPOSIT 5353019841
 02/26                   22,621.30                PAY SEQ # 001105018435 Serial Number = 0001505501 1702201714

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 41 CHARGES/DEBITS
 Date                      Amount                 Description
 02/02                    4,065.13                ACHMA VISB BILL PYMNT 9894867 REF # 015033008329277 1106233827
 02/02                   10,000.00                CREDIT CARD ECS PAYMENT 043000093332502REF # 015033008685128 1106256211
 02/02                   15,000.00                CREDIT CARD ECS PAYMENT 043000093332518REF # 015033008685129 1106256212
 02/02                   18,550.00                ANTHEM BLUE I01O CORP P FL00924514 REF # 015033008334447 1106230553
 02/03                       19.95                PAY SEQ # 001106242871 1702403033
 02/03                    3,045.36                PAY SEQ # 001106253764 1702403053
 02/03                    3,052.57                PAY SEQ # 001106253765 1702403028
 02/03                    8,125.00                WIRE/OUT-2015020300004461;BNF Heidi Richardson;REF Richardso 1303401367
 02/03                   60,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000006074 2306300731
 02/03                    5,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000006166 2306302935
 02/03                   12,344.37                EMPLOYMENT DEVEL EDD EF 1206754048 REF # 015034009644690 1105746555
 02/04                   12,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000000024 2306400673
 02/04                   50,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000007894 2306403089
 02/05                    1,389.00                ANTHEM BLUE I01O CORP P FL00930456 REF # 015036001444372 1105631793
 02/06                  275,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000008353 2307301889
 02/06                       30.00                ONLINE XFER TO DDA ***2699 ID: 000005750 2307301891
 02/10                  100,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000004680 2307100985
 02/10                      680.35                PAYCHEX EIB INVOICE X59122800019734REF # 015040002907192 1106606374
 02/11                        8.11                PAY SEQ # 001106634880 1702502259
 02/12                   68,770.05                PAYCHEX PAYROLL 59274400004162XREF # 015043004811561 1105526005
 02/18                    3,067.00                PAY SEQ # 001106953209 1702403027
 02/18                    1,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000007648 2306500611
 02/19                    1,000.00                CREDIT CARD ECS PAYMENT 043000096288826REF # 015050007916883 1105325879
 02/19                    4,000.00                CREDIT CARD ECS PAYMENT 043000096288818REF # 015050007916882 1105325878
 02/19                   30,000.00                CREDIT CARD ECS PAYMENT 043000096293978REF # 015050007977777 1105326058
 02/24                   27,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000003342 2306101225


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Date                       Amount                 Description
02/25                     4,653.47                WIRE/OUT-2015022500002156;BNF Julie Cline Fine Art Services; 1304300626
02/25                     2,500.00                ONLINE XFER TO DDA AVENATTI & A ID: 000003328 2305701643
02/25                    50,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000005508 2305703133
02/25                    18,676.00                ANTHEM BLUE I01O CORP P FL00938403 REF # 015055009958694 1105010357
02/26                     1,500.00                ONLINE XFER TO DDA AVENATTI & A ID: 000009565 2306103373
02/26                     1,000.00                CREDIT CARD ECS PAYMENT 043000096920430REF # 015057001266367 1105626880
02/26                     2,000.00                CREDIT CARD ECS PAYMENT 043000096947008REF # 015057001265427 1105626877
02/26                     2,000.00                CREDIT CARD ECS PAYMENT 043000096920616REF # 015057001266368 1105626881
02/26                    13,000.00                CREDIT CARD ECS PAYMENT 043000096926580REF # 015057001299576 1105626917
02/26                    70,077.03                PAYCHEX PAYROLL 59470000001086XREF # 015057001262340 1105625636
02/27                   100,000.00                WIRE/OUT-2015022700007964;BNF Baker Keener Nahra LLP;REF Eag 1304501890
02/27                    60,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000006369 2306901451
02/27                    77,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000003582 2306903635
02/27                     7,000.00                CREDIT CARD ECS PAYMENT 043000098466944REF # 015058002129388 1106147567
02/27                        25.00                REMOTE DEPOSIT SERVICE - 1

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72 CHECKS PROCESSED
Number..............Date............................Amount       Number..............Date............................Amount       Number..............Date............................Amount
9998             02/24                           50.40          15034                02/02                     1,406.51          15058                02/06                       557.35
10010*           02/03                          360.00          15035                02/05                       317.00          15059                02/04                     4,651.60
10041*           02/02                        5,070.00          15036                02/03                       261.00          15060                02/10                     5,550.38
15009*           02/02                       75,000.00          15037                02/03                     1,732.04          15061                02/09                     5,325.00
15011*           02/05                       18,000.00          15038                02/05                    11,880.97          15062                02/03                       100.00
15012            02/05                       80,000.00          15039                02/09                     3,744.07          15064*               02/11                       668.10
15013            02/12                        5,300.00          15040                02/03                     6,453.26          15065                02/04                     6,640.55
15014            02/03                        6,000.00          15041                02/03                     3,337.05          15066                02/04                     6,715.45
15016*           02/02                       18,142.29          15042                02/03                        80.87          15067                02/06                    10,059.82
15019*           02/03                        1,272.79          15043                02/02                     1,010.10          15068                02/06                     3,521.68
15020            02/12                       39,000.00          15044                02/05                     3,439.17          15069                02/10                     6,520.36
15021            02/25                       39,000.00          15045                02/03                     1,279.00          15070                02/09                     3,700.00
15022            02/02                        1,244.26          15046                02/02                       166.44          15071                02/11                     5,550.00
15023            02/05                        4,941.00          15047                02/13                    13,608.13          15073*               02/09                     2,499.00
15024            02/03                          447.81          15048                02/04                     8,202.54          15074                02/18                     2,776.43
15025            02/11                          520.20          15049                02/05                       477.36          15075                02/11                        38.50
15026            02/10                        1,640.00          15050                02/09                         8.31          15079*               02/09                        25.00
15027            02/04                          866.00          15051                02/03                       617.20          15080                02/11                     6,460.00
15028            02/03                        5,489.91          15052                02/02                        55.00          15081                02/13                     7,500.00
15029            02/02                        1,218.43          15053                02/06                        91.15          15082                02/12                    14,583.33
15030            02/10                        1,176.00          15054                02/02                     2,963.55          15083                02/13                     2,331.74
15031            02/06                          144.88          15055                02/13                     1,784.30          15084                02/24                     1,642.50
15032            02/02                        2,681.87          15056                02/17                     2,322.42          15085                02/18                     1,509.55
15033            02/05                        1,245.00          15057                02/03                       516.49          15090*               02/24                       360.62
* Not in check sequence
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AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                   Total for This Period                       Total Year-to-Date
Total Overdraft Fees                                               $0.00                                 $175.00
Total Returned Item Fees                                           $0.00                                    $0.00

To learn more about our other products and services that may lower the cost of managing account
overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
Service or visit your local branch.

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DAILY BALANCES
Date..........................Balance                                      Date..........................Balance                                       Date..........................Balance
02/02                 687,740.15                                           02/10                 692,463.81                                            02/19                 482,988.26
02/03                 568,205.48                                           02/11                 679,218.90                                            02/20                 502,988.26
02/04               1,218,789.66                                           02/12                 551,565.52                                            02/24                 473,934.74
02/05               1,112,737.16                                           02/13                 526,341.35                                            02/25                 359,105.27
02/06                 823,332.28                                           02/17                 524,018.93                                            02/26                 292,149.54
02/09                 808,030.90                                           02/18                 517,988.26                                            02/27                   48,124.54




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Ref# 53037380   $15637.00                    Ref# 53036275   $2322.31




                                             Ref# 53031608     $50.40    Ch# 9998
Ref# 53019841   $20000.00




Ref# 53011384    $360.00      Ch# 10010      Ref# 53104392   $5070.00    Ch# 10041




Ref# 53032933   $75000.00     Ch# 15009      Ref# 53103241   $18000.00   Ch# 15011




Ref# 53103242   $80000.00     Ch# 15012      Ref# 53084408   $5300.00    Ch# 15013




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Ref# 53118295   $6000.00      Ch# 15014      Ref# 53003688   $18142.29   Ch# 15016




Ref# 53111212   $1272.79      Ch# 15019      Ref# 53068037   $39000.00   Ch# 15020




Ref# 53061068   $39000.00     Ch# 15021      Ref# 53003693   $1244.26    Ch# 15022




Ref# 53081029   $4941.00      Ch# 15023      Ref# 53133500    $447.81    Ch# 15024




Ref# 53005975    $520.20      Ch# 15025      Ref# 53020915   $1640.00    Ch# 15026




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Ref# 53016042   $866.00      Ch# 15027      Ref# 53132478   $5489.91   Ch# 15028




Ref# 53130303   $1218.43     Ch# 15029      Ref# 53008216   $1176.00   Ch# 15030




Ref# 53073877   $144.88      Ch# 15031      Ref# 53177875   $2681.87   Ch# 15032




Ref# 53102949   $1245.00     Ch# 15033      Ref# 53041195   $1406.51   Ch# 15034




Ref# 53009898   $317.00      Ch# 15035      Ref# 53133081    $261.00   Ch# 15036




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Ref# 53100679   $1732.04     Ch# 15037      Ref# 53101811   $11880.97   Ch# 15038




Ref# 53194989   $3744.07     Ch# 15039      Ref# 53021673   $6453.26    Ch# 15040




Ref# 53000519   $3337.05     Ch# 15041      Ref# 53117802     $80.87    Ch# 15042




Ref# 53116545   $1010.10     Ch# 15043      Ref# 53110339   $3439.17    Ch# 15044




Ref# 53133299   $1279.00     Ch# 15045      Ref# 53118931    $166.44    Ch# 15046




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Ref# 53006018   $13608.13     Ch# 15047      Ref# 53112528   $8202.54   Ch# 15048




Ref# 53091973    $477.36      Ch# 15049      Ref# 53207223     $8.31    Ch# 15050




Ref# 53112831    $617.20      Ch# 15051      Ref# 53120861    $55.00    Ch# 15052




Ref# 53083569     $91.15      Ch# 15053      Ref# 53127040   $2963.55   Ch# 15054




Ref# 53079674   $1784.30      Ch# 15055      Ref# 53009949   $2322.42   Ch# 15056




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Ref# 53023728   $516.49      Ch# 15057      Ref# 53001170    $557.35    Ch# 15058




Ref# 53122150   $4651.60     Ch# 15059      Ref# 53110709   $5550.38    Ch# 15060




Ref# 53006318   $5325.00     Ch# 15061      Ref# 53116224    $100.00    Ch# 15062




Ref# 53015731   $668.10      Ch# 15064      Ref# 53006776   $6640.55    Ch# 15065




Ref# 53006841   $6715.45     Ch# 15066      Ref# 53127357   $10059.82   Ch# 15067




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Ref# 53108651   $3521.68     Ch# 15068      Ref# 53003058   $6520.36   Ch# 15069




Ref# 53012078   $3700.00     Ch# 15070      Ref# 53095384   $5550.00   Ch# 15071




Ref# 53123729   $2499.00     Ch# 15073      Ref# 53008229   $2776.43   Ch# 15074




Ref# 53096620    $38.50      Ch# 15075      Ref# 53109912    $25.00    Ch# 15079




Ref# 53003182   $6460.00     Ch# 15080      Ref# 53060554   $7500.00   Ch# 15081




                                                                       0047703-0000006-0128379




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Ref# 53005522   $14583.33     Ch# 15082      Ref# 53061297   $2331.74   Ch# 15083




Ref# 53113413    $1642.50     Ch# 15084      Ref# 53113543   $1509.55   Ch# 15085




Ref# 53028325     $360.62     Ch# 15090




                                                                        0047703-0000006-0128379




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                                                                                                                                     Last Statement: March 31, 2015

                                                                                                                                     Account 5791082851



                                                                                                                                     DIRECT INQUIRIES TO:
                                                                                                                                     Customer Service 1 (800) 400-6080
 0047614                                  4121-06-0000-CBT-PG0023-00052


 EAGAN AVENATTI LLP
 520 NEWPORT CENTER DR STE 1400
 NEWPORT BEACH CA 92660-7020




                                                                                                                                     Irvine Branch
                                                                                                                                     1900 Main St. Suite 100
                                                                                                                                     Irvine, CA 92614-0000
                                                                                                                                     (949) 223-7500




       Enter our Online Anytime Banking Sweepstakes for your chance to win a $250 Amazon Gift Card. No purchase
       necessary. Visit calbanktrust.com/OnlineAnytime for Official Rules and alternate method of entry.


  SUMMARY OF ACCOUNT BALANCE
                                                                                                               Checking/Savings                            Outstanding
  Account Type                                                      Account Number                               Ending Balance                         Balances Owed
  Business Essentials Checking                                      5791082851                                        $36,461.73



  BUSINESS ESSENTIALS CHECKING 5791082851                                                                                                                                         104    52



  Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
  724,395.05                                               532,617.51                          1,054,759.48                          165,791.35                              36,461.73

 ...........................................................................................................................................................................................
 7 DEPOSITS/CREDITS
 Date                      Amount                 Description
 04/01                   31,580.89                PAY SEQ # 001105617859 Serial Number = 0001508900 1702301999
 04/09                    4,404.47                ONLINE XFER FROM DDA STATE BAR OF ID: 000003773 2306604320
 04/14                  200,000.00                ONLINE XFER FROM DDA STATE BAR OF ID: 000005113 2306301628
 04/17                   25,000.00                ONLINE XFER FROM DDA STATE BAR OF ID: 000000020 2306802088
 04/20                  110,000.00                ONLINE XFER FROM DDA STATE BAR OF ID: 000005116 2307704944
 04/21                   81,468.76                DEPOSIT 5353048320
 04/29                   80,163.39                AT&T PAYMENTS O042831985557SSREF # 015118002634268 1104912273

 ...........................................................................................................................................................................................
 34 CHARGES/DEBITS
 Date                      Amount                 Description
 04/01                  350,000.00                ONLINE XFER TO DDA STATE BAR OF ID: 000008573 2306405527
 04/01                      417.21                PAYCHEX PAYROLL 59954200000165XREF # 015091008573070 1105746467
 04/01                    2,266.68                ACHMA VISB BILL PYMNT 9418167 REF # 015090008085550 1105728997
 04/01                   19,289.00                ANTHEM BLUE I01O CORP P FL00964309 REF # 015090007894850 1105721627
 04/02                    3,120.20                JOHN HANCOCK ACH DEBIT 0077281 REF # 015092009636565 1106131938
 04/06                   36,230.00                WIRE/OUT-2015040600002200;BNF Julie Cline Fine Art Services; 1304100620
 04/06                   10,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000006481 2306804561
 04/07                    2,152.12                CREDIT CARD ECS PAYMENT 043000094640270REF # 015097002091584 1106032612
 04/07                    2,847.88                CREDIT CARD ECS PAYMENT 043000094640274REF # 015097002091585 1106032613
 04/07                   10,000.00                CREDIT CARD ECS PAYMENT 043000094640280REF # 015097002091586 1106032614
 04/07                   10,000.00                CREDIT CARD ECS PAYMENT 043000094665590REF # 015097002093199 1106032642
 04/08                   39,000.00                WIRE/OUT-2015040800002725;BNF Acamar Investments Inc. 1305400844
 04/09                   12,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000002137 2306601667
 04/09                    2,500.00                ONLINE XFER TO DDA AVENATTI & A ID: 000007814 2306601843
 04/10                      147.50                PAYCHEX EIB INVOICE X59902800029870REF # 015099003574158 1106510282
 04/13                   11,880.97                FIRST INSURANCE INSURAN 900-290460 REF # 015103004502497 1106322335
 04/13                   68,620.33                PAYCHEX PAYROLL 60114100000764XREF # 015103004585179 1106319655
 04/14                   20,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000008031 2306300739



                                                                                                                                                           0047614-0000001-0140067




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                                                                                                                   EAGAN AVENATTI LLP
                                                                                                                   5791082851




Continued ...
Date                       Amount                 Description
04/14                     6,500.00                ONLINE XFER TO DDA AVENATTI & A ID: 000005844 2306300841
04/14                   100,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000006153 2306301637
04/15                     2,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000008984 2306101075
04/15                    60,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000007281 2306103783
04/16                     3,116.15                JOHN HANCOCK ACH DEBIT 0077281 REF # 015106006862590 1105325466
04/17                    66,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000001160 2306802099
04/20                   100,000.00                WIRE/OUT-2015042000003702;BNF The X-Law Group P.C.;REF Avena 1304901048
04/20                        19.95                DEBIT MEMO 5353143410
04/20                       100.00                ONLINE XFER TO DDA ***2699 ID: 000004740 2307704895
04/20                    10,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000009785 2307704949
04/21                       390.00                ANALYSIS SERVICE FEE
04/22                     5,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000003720 2305803881
04/24                     1,786.30                ACHMA VISB BILL PYMNT 5887312 REF # 015113000326156 1105113666
04/29                    30,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000005695 2305903003
04/29                    69,350.19                PAYCHEX PAYROLL 60348800001387XREF # 015118002108660 1104904163
04/30                        25.00                REMOTE DEPOSIT SERVICE - 1

...........................................................................................................................................................................................
50 CHECKS PROCESSED
Number..............Date............................Amount       Number..............Date............................Amount       Number..............Date............................Amount
10009            04/20                           359.10         15142                04/03                     1,366.28          15159                04/06                     1,332.00
15117*           04/09                           331.00         15143                04/07                       252.20          15160                04/06                       128.00
15127*           04/14                           137.25         15144                04/06                     6,170.42          15161                04/08                     5,367.92
15128            04/03                         2,882.70         15145                04/06                       639.50          15163*               04/10                     2,180.95
15129            04/15                            48.69         15146                04/14                       600.00          15164                04/08                       208.33
15130            04/06                           179.75         15147                04/06                     6,331.00          15165                04/16                     4,635.00
15131            04/13                           384.00         15148                04/06                        55.00          15166                04/10                     2,583.33
15132            04/07                           468.00         15149                04/07                       180.00          15167                04/13                        50.00
15133            04/07                           323.00         15150                04/09                       492.08          15168                04/20                     1,800.00
15134            04/06                         5,956.89         15151                04/09                       400.00          15169                04/16                    23,362.17
15135            04/14                           385.00         15152                04/21                       180.00          15170                04/17                        60.00
15136            04/14                         1,118.00         15153                04/06                     2,963.55          15171                04/21                        60.00
15137            04/06                         2,393.55         15154                04/06                       616.73          15173*               04/27                     1,570.92
15138            04/07                           224.32         15155                04/06                       990.32          15174                04/23                     2,000.00
15139            04/13                           662.70         15156                04/07                     1,200.93          15175                04/27                     4,695.00
15140            04/08                            36.00         15157                04/13                     5,982.00          15176                04/24                    12,049.72
15141            04/10                         6,195.00         15158                04/09                    53,203.05
* Not in check sequence
..........................................................................................................................................................................................

AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                   Total for This Period                       Total Year-to-Date
Total Overdraft Fees                                               $0.00                                 $315.00
Total Returned Item Fees                                           $0.00                                    $0.00

To learn more about our other products and services that may lower the cost of managing account
overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
Service or visit your local branch.

..........................................................................................................................................................................................
DAILY BALANCES
Date..........................Balance                                      Date..........................Balance                                       Date..........................Balance
04/01                 384,003.05                                           04/10                 154,758.02                                            04/21                   82,775.47
04/02                 380,882.85                                           04/13                   67,178.02                                           04/22                   77,775.47
04/03                 376,633.87                                           04/14                 138,437.77                                            04/23                   75,775.47
04/06                 302,647.16                                           04/15                   76,389.08                                           04/24                   61,939.45
04/07                 274,998.71                                           04/16                   45,275.76                                           04/27                   55,673.53
04/08                 230,386.46                                           04/17                    4,215.76                                           04/29                   36,486.73
04/09                 165,864.80                                           04/20                    1,936.71                                           04/30                   36,461.73




                                                                                                                                                           0047614-0000002-0140068




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Ref# 53048320   $81468.76                      Ref# 53143410    $19.95




Ref# 53119647    $359.10       Ch# 10009       Ref# 53097243    $331.00   Ch# 15117




Ref# 53006633    $137.25       Ch# 15127       Ref# 53074831   $2882.70   Ch# 15128




Ref# 53093054     $48.69       Ch# 15129       Ref# 53129986    $179.75   Ch# 15130




Ref# 53101769    $384.00       Ch# 15131       Ref# 53002264    $468.00   Ch# 15132




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Ref# 53087292   $323.00       Ch# 15133       Ref# 53165755   $5956.89   Ch# 15134




Ref# 53096267   $385.00       Ch# 15135       Ref# 53119234   $1118.00   Ch# 15136




Ref# 53117065   $2393.55      Ch# 15137       Ref# 53000409    $224.32   Ch# 15138




Ref# 53199313   $662.70       Ch# 15139       Ref# 53090194    $36.00    Ch# 15140




Ref# 53054793   $6195.00      Ch# 15141       Ref# 53067241   $1366.28   Ch# 15142




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Ref# 53074512   $252.20       Ch# 15143       Ref# 53027183   $6170.42   Ch# 15144




Ref# 53027182   $639.50       Ch# 15145       Ref# 53089023    $600.00   Ch# 15146




Ref# 53162676   $6331.00      Ch# 15147       Ref# 53119404    $55.00    Ch# 15148




Ref# 53078980   $180.00       Ch# 15149       Ref# 53073447    $492.08   Ch# 15150




Ref# 53073396   $400.00       Ch# 15151       Ref# 53014007    $180.00   Ch# 15152




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Ref# 53035512   $2963.55      Ch# 15153       Ref# 53020327    $616.73    Ch# 15154




Ref# 53133113   $990.32       Ch# 15155       Ref# 53075301   $1200.93    Ch# 15156




Ref# 53157502   $5982.00      Ch# 15157       Ref# 53012700   $53203.05   Ch# 15158




Ref# 53052364   $1332.00      Ch# 15159       Ref# 53052366    $128.00    Ch# 15160




Ref# 53107410   $5367.92      Ch# 15161       Ref# 53050751   $2180.95    Ch# 15163




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Ref# 53077433   $208.33       Ch# 15164       Ref# 53073978   $4635.00    Ch# 15165




Ref# 53053866   $2583.33      Ch# 15166       Ref# 53157701     $50.00    Ch# 15167




Ref# 53154324   $1800.00      Ch# 15168       Ref# 53005437   $23362.17   Ch# 15169




Ref# 53043678     $60.00      Ch# 15170       Ref# 53085160     $60.00    Ch# 15171




Ref# 53036096   $1570.92      Ch# 15173       Ref# 53069461   $2000.00    Ch# 15174




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Ref# 53184335   $4695.00      Ch# 15175       Ref# 53042581   $12049.72   Ch# 15176




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                                                                                                                                     Last Statement: May 29, 2015

                                                                                                                                     Account 3260132699



                                                                                                                                     DIRECT INQUIRIES TO:
                                                                                                                                     Customer Service 1 (800) 400-6080
 0049574                                  4182-06-0200-CBT-PG0023-00000


 EAGAN AVENATTI LLP
 520 NEWPORT CENTER DR STE 1400
 NEWPORT BEACH CA 92660-7020




                                                                                                                                     Irvine Branch
                                                                                                                                     1900 Main St. Suite 100
                                                                                                                                     Irvine, CA 92614-0000
                                                                                                                                     (949) 223-7500




       California Bank & Trust, as part of Zions Bancorporation, has received 24 Greenwich Excellence Awards for
       middle market and business banking - double the amount we received for 2013 and the second-highest number
       of awards won among all banks in the United States for 2014]


  SUMMARY OF ACCOUNT BALANCE
                                                                                                               Checking/Savings                            Outstanding
  Account Type                                                      Account Number                               Ending Balance                         Balances Owed
  Business Money Maximizer Plus                                     3260132699                                           $48.18



  BUSINESS MONEY MAXIMIZER PLUS 3260132699                                                                                                                                        924     0



  Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
  60.51                                                       3,650.00                            3,662.33                                 0.00                                  48.18

 ...........................................................................................................................................................................................
 1 DEPOSIT/CREDIT
 Date                       Amount                Description
 06/01                     3,650.00               ONLINE XFER FROM DDA ***2851 ID: 000001385 2309007948

 ...........................................................................................................................................................................................
 3 CHARGES/DEBITS
 Date                       Amount                Description
 06/01                     3,647.33               WIRE/OUT-2015060100007746;BNF Julie Cline Fine Art Services; 1304002150
 06/30                        12.00               MONTHLY MAINTENANCE FEE
 06/30                         3.00               PAPER STATEMENT FEE

 ...........................................................................................................................................................................................
 0 CHECKS PROCESSED
 There were no transactions this period.
 ..........................................................................................................................................................................................

 AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                   Total for This Period                       Total Year-to-Date
 Total Overdraft Fees                                              $0.00                                    $0.00
 Total Returned Item Fees                                          $0.00                                    $0.00

 To learn more about our other products and services that may lower the cost of managing account
 overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
 Service or visit your local branch.




                                                                                                                                                           0049574-0000001-0126407




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                                                                                                                   June 30, 2015
                                                                                                                   EAGAN AVENATTI LLP
                                                                                                                   3260132699




..........................................................................................................................................................................................
DAILY BALANCES
Date..........................Balance                                      Date..........................Balance
06/01                        63.18                                         06/30                        48.18


...........................................................................................................................................................................................
INTEREST
Interest Earned This Interest Period                                          $0.00                                Number Of Days This Interest Period                                 32
Interest Paid Year-To-Date 2015                                               $0.00                                Annual Percentage Yield Earned                                 0.00%

Current interest rate is 0.050% with no rate change this interest period




                                                                                                                                                          0049574-0000002-0126408




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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 JOHN P. REITMAN (State Bar No. 80579)
 jreitman@lgbfirm.com
 JACK A. REITMAN (State Bar No. 283746)
 jareitman@lgbfirm.com
 LANDAU GOTTFRIED & BERGER LLP
 1880 Century Park East, Suite 1101
 Los Angeles, California 90067
 Telephone: (310) 557-0050
 Facsimile: (310) 557-0056
 Proposed Special Litigation Attorneys for Richard A.
 Marshack, Chapter 7 Trustee for Eagan Avenatti, LLP
 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISIONDIVISION

 In re:
 EAGAN AVENATTI, LLP,
                                                                          CASE NO.: 8:19-bk-13560-CB
                                                                          CHAPTER:
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
RICHARD A. MARSHACK, CHAPTER 7 TRUSTEE FOR
EAGAN AVENATTI, LLP,




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                       Versus                                             CONFERENCE IN ADVERSARY PROCEEDING
 MICHAEL AVENATTI, an individual; LISA                                                [LBR 7004-1]
 STORIE-AVENATTI, an individual; AVENATTI &
 ASSOCIATES APC, a professional corporation; and
 DOES 1-10, Inclusive,

                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom:                                       3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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